 Case 2:24-bk-14882-BB          Doc 92 Filed 12/30/24 Entered 12/30/24 19:00:45             Desc
                                 Main Document    Page 1 of 73


1
     Jessica McKinlay (Cal. Bar No. 282743)
2    BIALSON, BERGEN & SCHWAB
     A Professional Corporation
3    830 Menlo Avenue, Suite 201
     Menlo Park, California 94025
4    Telephone: 650/857-9500
     Facsimile: 650/494-2738
5    E-mail jessica@bbslaw.com

6    Attorneys for Pinterest

7                               UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
8

9     In re:                                                ) Case No. 2:24-bk-14882-BB
                                                            )
10    ERIN ELIZABETH BURKE,                                 ) Chapter 11
                                                            )
11                                                          ) PINTEREST’S OPPOSITION TO
                      Debtor and Debtor in Possession       ) DEBTOR’S MOTION OBJECTING
12                                                          ) TO CERTAIN PROOFS OF CLAIM;
                                                            ) DECLARATION OF JESSICA
13                                                          ) MCKINLAY IN SUPPORT;
                                                            ) EXHIBIT A
14                                                          )
                                                            ) Hearing
15                                                          ) Date: January 15, 2025
                                                            ) Time: 10:00 a.m.
16                                                          ) Courtroom: 1539
                                                              Place 255 E. Temple Street
17                                                                  Los Angeles, CA 90012

18
               Pinterest, by and through counsel, hereby attaches Exhibit A. This is in support of docket
19
      no. 89, Pinterest’s Opposition to Debtor’s Motion Objecting to Certain Proofs of Claim; Declaration
20

21    of Jessica McKinlay in Support.

22    Dated: December 30, 2024                          Respectfully submitted

23                                                      BIALSON, BERGEN & SCHWAB,
                                                        A Professional Corporation
24
                                                        By: /s/ Jessica McKinlay
25                                                          Jessica McKinlay (Cal. Bar No. 282743)
                                                        Attorneys for Pinterest
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 Case 2:24-bk-14882-BB   Doc 92 Filed 12/30/24 Entered 12/30/24 19:00:45   Desc
                          Main Document    Page 2 of 73


1                                        EXHIBIT A
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      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
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                                                  Entered1 of
                                                           12/30/24
                                                              32. PageID
                                                                    19:00:45
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                         Main Document       Page 3 of 73




                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


AMPLA, LLC                             )
1239 Broadway #1605                    )       CASE NO.
New York, NY 10001,                    )
                                       )       JUDGE
                      PLAINTIFF,       )
                                       )
       vs.                             )       COMPLAINT
                                       )
BURKE DECOR, LLC                       )
c/o Jerry M. Bryan                     )
Statutory Agent                        )
6 Federal Plaza Central, Suite 1300    )
Youngstown, OH 44503,                  )
                                       )
and                                    )
                                       )
ERIN BURKE                             )
6813 Commerce Dr.                      )
Hubbard, OH 44425-2945,                )
                                       )
and                                    )
                                       )
AU MARCHE, LLC                         )
c/o Erin Burke                         )
Statutory Agent                        )
6813 Commerce Drive                    )
Hubbard, OH 44425,                     )
                                       )
and                                    )
                                       )
FURNISHINGS LA, LLC                    )
c/o Christopher J. Newman, Esq.        )
Statutory Agent                        )
6 Federal Plaza Central, Suite 1300    )
Youngstown, OH 44503,                  )
                                       )
and                                    )
                                       )

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      Case: 4:24-cv-00869-JG
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                                                           12/30/24
                                                              32. PageID
                                                                    19:00:45
                                                                         #: 2 Desc
                         Main Document       Page 4 of 73



    U.S. SMALL BUSINESS                         )
    ADMINISTRATION                              )
    2 North 20th Street, Suite 320              )
    Birmingham, AL 35203,                       )
                                                )
                          DEFENDANTS.           )

                                          COMPLAINT

          Plaintiff Ampla, LLC (“Ampla”) for its Complaint against Defendants Burke Decor, LLC

(“Burke Decor”), its principal and personal guarantor Ms. Erin Burke, Au Marche, LLC (“Au

Marche”), Furnishings LA, LLC (“Furnishings,” and collectively with Au Marche, the “Corporate

Guarantors”), and U.S. Small Business Administration states as follows:

                                        INTRODUCTION

          1.     In this lawsuit, Ampla seeks contractual and other remedies related to Burke

Decor’s breach of a Growth Line of Credit Agreement dated September 27, 2022 (the “Credit

Agreement”), as accelerated and amended by a Forbearance and Corporate Guaranty Agreement

dated October 19, 2023 (the “Forbearance Agreement,” and together with the Credit Agreement,

the “Growth LOC”), as well as fraudulent misrepresentations made in relation to the Growth

LOC.1

          2.     Under the Growth LOC, Ampla agreed to loan Burke Decor up to an initial credit

limit of $8,217,028 for certain limited uses, in exchange for a right to collect a percentage of

Burke Decor’s receivables, a security interest in substantially all of Burke Decor’s assets, a right

to receive accurate financial reporting, and other contractual rights and remedies including the

right to receivership. Burke Decor defaulted under the Credit Agreement by, among other



1
 As set forth herein, Burke Decor defaulted under both the initial Credit Agreement and also
defaulted under the Forbearance Agreement, all in breach of the Growth LOC comprised of the
Credit Agreement and the Forbearance Agreement. Ampla is entitled to all available remedies
under the entirety of the Growth LOC.
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Case 2:24-bk-14882-BB
      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
                                        Filed: 05/14/24
                                                  Entered3 of
                                                           12/30/24
                                                              32. PageID
                                                                    19:00:45
                                                                         #: 3 Desc
                         Main Document       Page 5 of 73



things, transferring funds to unauthorized entities, using funds for unauthorized purposes, and

failing to report and deposit revenue, thus reducing Ampla’s recovery of the percentage of

receivables due to it. Ampla worked out the Forbearance Agreement with Burke Decor, in

which Burke Decor and its guarantors admitted that Ampla was owed an accelerated balance of

$7,469,495 as of October 19, 2023. Burke Decor defaulted under the terms of the Forbearance

Agreement as well. Burke Decor currently owes Ampla in excess of $6.4 million, plus interest

accruing at the contractual rate.

       3.      Additionally, Burke Decor and Erin Burke intentionally made material, written,

false representations about Burke Decor’s financial condition during the life of the Growth LOC.

Ampla reasonably relied upon these misrepresentations to its detriment when it loaned additional

funds to Burke Decor that it would not have loaned if Burke Decor’s true financial condition had

been disclosed and/or did not to pursue remedies available to it under the Growth LOC based on

Burke Decor’s multiple breaches of contract. Burke Decor and Erin Burke caused the

misrepresentations to be made with intent to deceive.

       4.      Ms. Erin Burke, the principal of Burke Decor, made a limited personal guaranty

for Burke Decor’s payment obligations under the Growth LOC and is personally liable for the

full balance owed to Ampla, because the terms of her personal guaranty have been triggered.

Furnishings and Au Marche, the Corporate Guarantors, unconditionally guaranteed Burke

Decor’s payment obligations under the Growth LOC and are also liable for the full balance owed

to Ampla.

       5.      Burke Decor granted receivership rights to Ampla under the Growth LOC, which

have been triggered by these defaults and fraudulent conduct. Erin Burke and Burke Decor’s

unauthorized uses of funds, depletion of corporate assets, and inaccurate financial reporting all



                                                3
Case 2:24-bk-14882-BB
      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
                                        Filed: 05/14/24
                                                  Entered4 of
                                                           12/30/24
                                                              32. PageID
                                                                    19:00:45
                                                                         #: 4 Desc
                         Main Document       Page 6 of 73



entitle Ampla to a receiver to preserve and/or sell the collateral securing the Growth LOC (i.e.,

Burke Decor’s assets).

                                         THE PARTIES

        6.     Plaintiff Ampla is a New York limited liability company, operating as a private

lender entity serving the e-commerce and consumer brands industry. Its sole member is Ampla

Technologies, Inc., a Delaware corporation with its principal place of business in New York

City.

        7.     Defendant Burke Decor is an Ohio limited liability corporation. Upon

information and belief, its principal place of business located in Boardman, Mahoning County,

Ohio. Its sole member is Erin Burke. Burke Decor is in the business of marketing and selling

high-end furniture and fixtures, chiefly online at www.burkedecor.com and at retail locations

including one in Boardman, Ohio.

        8.     Defendant Erin Burke (“Ms. Burke”) is, upon information and belief, a resident of

Ohio. Ms. Burke maintains an Ohio driver’s license (expiring August 2024) registered to a

commercial building located at 6813 Commerce Dr., Hubbard, Ohio 44425-2945. Ms. Burke is

the President and sole member of Burke Decor, and is a limited personal guarantor of Burke

Decor’s payment obligations under the Growth LOC.

        9.     Defendant Au Marche is an Ohio limited liability company. Upon information

and belief, its sole member is Ms. Burke or Burke Decor. It is a secured corporate guarantor of

Burke Decor’s payment obligations under the Growth LOC.

        10.    Defendant Furnishings is an Ohio limited liability company. Upon information

and belief, its sole member is Ms. Burke or Burke Decor. It is a secured corporate guarantor of

Burke Decor’s payment obligations under the Growth LOC.



                                                 4
Case 2:24-bk-14882-BB
      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
                                        Filed: 05/14/24
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                                                           12/30/24
                                                              32. PageID
                                                                    19:00:45
                                                                         #: 5 Desc
                         Main Document       Page 7 of 73



       11.     The U.S. Small Business Administration (the “SBA”) may have an interest in the

collateral that is the subject of this action pursuant to Financing Statement Nos. OH00262056346

and OH00239630476.

                                JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§1332. The parties are of diverse citizenship and the amount in controversy exceeds $75,000.

Ampla’s sole member is incorporated in Delaware and located in the State of New York. Burke

Decor, Ms. Burke, Au Marche, and Furnishings are not citizens of the States of New York or

Delaware. This is an action based on, among other things, a breach of the Growth LOC

involving damages exceeding $6.3 million and fraudulent misrepresentations made in relation to

the Growth LOC.

       13.     Venue is proper with this Court pursuant to 28 U.S.C. § 1391(b)(1)-(2) because: a

substantial part of the events underlying Plaintiff Ampla’s claims occurred within Mahoning

County, Ohio; the Collateral (defined below) is located or controlled within Mahoning County,

Ohio; and Defendant Burke Decor’s principal place of business is in Mahoning County, Ohio.

Moreover, as Ohio limited liability companies, Burke Decor, Au Marche, and Furnishings are all

subject to service in the State of Ohio. Mahoning County is located in the territorial jurisdiction

of the Eastern Division of the Northern District of Ohio.




                                                 5
Case 2:24-bk-14882-BB
      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
                                        Filed: 05/14/24
                                                  Entered6 of
                                                           12/30/24
                                                              32. PageID
                                                                    19:00:45
                                                                         #: 6 Desc
                         Main Document       Page 8 of 73



                                              FACTS

       14.     Ampla is a private lender for the e-commerce and consumer packaged goods

industry. Ampla operates an all-in-one platform offering consolidated financial products to

provide consumer-facing companies modern solutions to fuel growth and enhance efficiency.

Chief among Ampla’s operating principles is a dedication to working tirelessly to ensure

customer satisfaction, earning trust through honesty, and pushing toward future growth through

data-driven innovation and decision making. One of the distinctive features of Ampla’s business

model, for instance, is its willingness to be flexible in its repayment arrangements with its

clients. Rather than requiring fixed repayment amounts, Ampla works with its clients to fashion

fluid repayment structures, which enable their clients to succeed in their business enterprises.

Since its inception in 2022, Ampla has raised more than $600 million in capital. Ampla has

received extensive praise from both its customers and within the financial services sector, being

hailed for its “commitment to innovation and its track record [for] effectively serving consumer

brands.”2

       15.     Defendant Burke Decor was formed by Erin Burke, its CEO and sole owner and

member. Burke Decor is engaged in the business of marketing and selling high-end furniture

and home furnishings online. It has characterized itself as an online provider of “quality, high

style design [of furniture] to people outside of metropolitan areas.”3 Its annual sales in recent

years exceeded $85 million.




2
 City and Waterfall Asset Management Provide $275MM Credit Facility to Ampla, ABF JOURNAL
(Dec. 20, 2023), available at https://www.abfjournal.com/dailynews/citi-and-waterfall-asset-
management-provide-275mm-credit-facility-to-ampla/ (last visited Mar. 22, 2024).
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  About Us, BurkeDecor.com, available at https://www.burkedecor.com/pages/about-us (last
visited Mar. 22, 2024).
                                                 6
Case 2:24-bk-14882-BB
      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
                                        Filed: 05/14/24
                                                  Entered7 of
                                                           12/30/24
                                                              32. PageID
                                                                    19:00:45
                                                                         #: 7 Desc
                         Main Document       Page 9 of 73



                               Growth Line of Credit Agreement

       16.      In September 2022, Erin Burke on behalf of Burke Decor connected with Ampla

regarding funding to support Burke Decor’s online furniture business.

       17.      At the time Ms. Burke connected with Ampla, Burke Decor had already taken a

loan through the SBA in the approximate amount of $1 million (with approximately $500,000

advanced at the time the Growth LOC was underwritten).

       18.      In seeking funding from Ampla, Erin Burke and Burke Decor made

representations regarding Burke Decor’s business, financial circumstances (including the extent

of Burke Decor’s sales), the value of its inventory, and other essential information.

       19.      On or about September 27, 2022, reasonably relying on the information Ms.

Burke and Burke Decor provided, Ampla entered into the Credit Agreement with Burke Decor.

A copy of the Credit Agreement is attached as Exhibit 1. It provides, in relevant part, that Ampla

would provide Burke Decor with an initial credit limit of $8,217,028, and a maximum credit line

not to exceed $16 million, for the following limited uses only:

             ● Purchases of inventory, raw materials, packaging, or other specified
                goods;
             ● Manufacturing payments;
             ● Payments to shipping and/or fulfillment partners;
             ● Purchases of marketing and advertising services; and
             ● To the extent not included above, other general administrative costs as
                determined by Lender [i.e., Ampla] in its sole discretion.

(Credit Agreement, ¶¶6, 52). Burke Decor agreed to these limitations and certified it would use

advanced funds for these enumerated purposes only.

       20.      Burke Decor would obtain advances by submitting an online Advance Request,

which funds Ampla would advance by ACH credit or wire transfer to a Designated Checking


                                                 7
Case 2:24-bk-14882-BB
      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
                                        Filed: 05/14/24
                                                  Entered
                                                        8 of
                                                          12/30/24
                                                             32. PageID
                                                                   19:00:45
                                                                        #: 8 Desc
                        Main Document       Page 10 of 73



Account (defined in Credit Agreement ¶¶2, 7) if the request was approved. Ampla retained the

right to reject an Advance Request (defined in Credit Agreement ¶¶2, 9), including upon the

occurrence of an Event of Default (defined in Credit Agreement ¶32).

       21.      There was no fixed repayment amount due to Ampla under the Credit

Agreement. Instead, in exchange for the funds advanced to Burke Decor, Ampla was entitled to

collect a percentage of Burke Decor’s receivables to be determined based on the percentage of

available credit Burke Decor used: (A) for 0-20% credit utilization, Ampla was entitled to 8% of

Burke Decor's receivables; (B) for 21-40% credit utilization, Ampla was entitled to 16% of

Burke Decor's receivables; (C) for 41-60% credit utilization, Ampla was entitled to 24% of

Burke Decor's receivables; (D) for 61-80% credit utilization, Ampla was entitled to 32% of

Burke Decor's receivables; and (E) for 81-100% credit utilization, Ampla was entitled to 40% of

Burke Decor's receivables. Ampla would use these rates to determine the amount to collect from

Burke Decor’s receivables on a daily basis as they accrued (the “Collection Amount”). The

Collection Amount would be collected via ACH debits each business day. This is how Ampla

was paid.

       22.     To facilitate Ampla’s debit of the Collection Amount and Burke Decor’s

Obligations (defined in Credit Agreement ¶2) as holder of the receivables for Ampla’s benefit,

Burke Decor was required to “cause all Receivables to be paid into [a] Designated Checking

Account” in Burke Decor’s name and hosted at a banking institution of Ampla’s choice. Further,

Burke Decor agreed to collect all receivables promptly for deposit into that account, report all

receivables to Ampla, and enable Ampla to debit the Collection Amount from the Designated

Checking Account. Until such time as the Collection Amount was withdrawn, Burke Decor was

required to hold its receivables in trust for Ampla.



                                                 8
Case 2:24-bk-14882-BB
      Case: 4:24-cv-00869-JG
                        Doc 92DocFiled
                                  #: 1 12/30/24
                                        Filed: 05/14/24
                                                  Entered
                                                        9 of
                                                          12/30/24
                                                             32. PageID
                                                                   19:00:45
                                                                        #: 9 Desc
                        Main Document       Page 11 of 73



       23.     Burke Decor was prohibited from diverting any receivables away from the

Designated Checking Account or denying Ampla access to that account, and all receivables held

by payment processers or other third-parties in a transfer account were required to be deposited

in the Designated Checking Account within 14 days of their receipt (subject to such processor’s

or other third-party’s account-transfer rules).

       24.     Additionally, Burke Decor was expressly prohibited from “putting a stop order or

blocking any ACH or other remittance of Receivables to Borrower, or taking any action that

results in a stop order or block.” (Credit Agreement, ¶23).

       25.     The Credit Agreement also included a Limited Guaranty (defined in Credit

Agreement, Signature Page) that Ms. Burke executed in which she agreed to be liable to Ampla

“for losses and/or damages caused by [Burke Decor’s] gross negligence, willful misconduct,

misrepresentation or fraud.” (Credit Agreement, Signature Page).

       26.     Further securing Ampla’s right to payment, Burke Decor granted Ampla a

security interest in the following collateral (“the Collateral”):

       (i) all Receivables including but not limited to any amounts owing to Borrower
       now or in the future; and (ii) all other tangible and intangible personal property,
       including, but not limited to (a) cash and cash equivalents, (b) inventory, (c)
       equipment, (d) investment property, including certificated and uncertificated
       securities, securities accounts, security entitlements, commodity contracts and
       commodity accounts, (e) instruments, including promissory notes (f) chattel
       paper, including tangible chattel paper and electronic chattel paper, (g)
       documents, (h) letter of credit rights, (i) accounts, including health-care insurance
       receivables, (j) deposit accounts, (k) commercial tort claims, (l) general
       intangibles, including payment intangibles and software and (m) as-extracted
       collateral as such terms may from time to time be defined in the Uniform
       Commercial Code. The security interest Borrower grants includes all accessions,
       attachments, accessories, parts, supplies and replacements for the Collateral, all
       products, proceeds and collections thereof and all records and data relating
       thereto.




                                                   9
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     10 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 10 Desc
                        Main Document     Page 12 of 73



(Credit Agreement, ¶17). Ampla recorded its security interest via a UCC Financing Statement

by First Corporate Solutions, Inc., as representative, on September 28, 2022, which recording is

assigned FS No. OH00267040873, and on October 4, 2023, which recording is assigned as FS

No. OH00276420678 in the records of the Ohio Secretary of State.

       27.       In or around June 2023, Ampla discovered that Burke Decor had diverted money

to entities affiliated with Burke Decor or Erin Burke that did not meet the enumerated uses under

the Credit Agreement, were not disclosed as co-borrowers, and that Ampla had not approved.

Specifically, Burke Decor was providing intercompany loans to unauthorized entities, which had

grown from approximately $2 million in June 2022 (time the Growth LOC was underwritten) to

$2.9 million as of December 2023. Additionally, from bank statement information provided to

Ampla by Erin Burke and Burke Decor, Burke Decor made unauthorized transfers of:

             •   approximately $300,000 to Au Marche between June 2022 - June 2023;

             •   approximately $200,000 to 222 N. Brand Realty, LLC between June 2022 – June

                 2023 (approximately $250,000 from June 2022 – present);

             •   approximately $180,000 to 7373 Market St, LLC between June 2022 – June 2023

                 (approximately $250,000 from June 2022 – present);

             •   approximately $130,000 to Erin Burke between June 2022 – June 2023

                 (approximately $156,000 from June 2022 – present); and

             •   approximately $175,000 to an unknown entity for “SHELLPOINT

                 MORTGAGE” between June 2022 – June 2023 (approximately $260,000 from

                 June 2022 – present).

These payments included payroll, taxes, and mortgage payments for unauthorized entities.




                                               10
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     11 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 11 Desc
                        Main Document     Page 13 of 73



       28.     These transfers of funds were not authorized under the Credit Agreement, did not

satisfy the limited, enumerated uses for funds advanced under the Credit Agreement, and

breached the terms of it.

       29.     Ampla also learned that Burke Decor deposited receivables in accounts other than

the Designated Checking Account. Beginning in July 2023, Burke Decor moved a majority of

revenue from its payment processor, Paymentech Solutions, away from Ampla and directly into

Burke Decor’s own checking account. Even after Ampla pointed out this conduct to Burke

Decor, the latter continued to mask or divert receivables in breach of Burke Decor’s Obligations.

For the period of April 1, 2023 to October 31, 2023, Burke Decor directly collected $29,200,000

in revenue. Using an average collection percentage of 40%, based on credit utilization, Burke

Decor should have remitted approximately $11,650,000 to Ampla in Collection Amounts to pay

down the Growth LOC. During this time period, however, Burke Decor made wire payments

and permitted Collection Amounts from the Designated Checking Account together totaling only

about $6,300,000. By keeping receivables out of the Designated Checking Account, Burke

Decor and Ms. Burke wrongly held onto approximately $5,350,000 which was owed to Ampla as

repayment.

       30.     Because Ampla used the receivable deposits and its access to the Designated

Checking Account to determine the Collection Amount, and because Ampla debited the

Collection Amount via ACH transfers from the Designated Checking Account, Burke Decor’s

diversion of receivables to other accounts interfered with and deprived Ampla of the ability to

calculate accurately and collect all sums due, the very essence of the Growth LOC mechanics.

       31.     As signatories to the Credit Agreement, Erin Burke and Burke Decor knew that

the masking and diversion of receivables would result in an incomplete and inaccurate



                                                11
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     12 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 12 Desc
                        Main Document     Page 14 of 73



determination as to the Collection Amount and would deprive Ampla of its full contractual

payment and Ampla’s ability to recover that payment.

       32.     When Burke Decor failed to keep up with the wire payments it was making,

Ampla sought to debit Burke Decor’s Chase bank account ending in 0795 to recover sums due,

as Ampla had done previously. On or about August 17, 2023, Burke Decor blocked access to its

Chase bank account (an ACH debit block), in breach of the Credit Agreement. This precluded

Ampla from receiving a payment in excess of $410,000 that was requested.

       33.     Because of Burke Decor’s actions breaching terms of the Credit Agreement,

Ampla sent Burke Decor, attention Erin Burke, a Notice of Event of Default and Opportunity to

Cure (“Notice”) on August 17, 2023, identifying incidents of breach. The Notice allowed Burke

Decor and Ms. Burke time to cure the event. Neither Burke Decor nor Ms. Burke did so. A

copy of the Notice is attached as Exhibit 2.

       34.     These multiple violations of Burke Decor’s obligations under the Credit

Agreement constituted independent defaults under Paragraph 32 of the Credit Agreement.

       35.     Paragraph 33 of the Credit Agreement sets forth the parties’ rights and remedies

upon a default. It provides, among other remedies, that Ampla may: (1) “declare any and all

Obligations immediately due and payable, without notice of any kind to [Burke Decor]”;

(2) assemble and sell all of the Collateral; and (3) appoint a receiver to take possession over all

of the Collateral, collect Burke Decor’s revenues, and administer Burke Decor’s accounts.

                               The Forbearance Agreement

       36.     On or about October 19, 2023, Ampla and Burke Decor entered into the

Forbearance Agreement. A copy of the Forbearance Agreement is attached as Exhibit 3.




                                                 12
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     13 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 13 Desc
                        Main Document     Page 15 of 73



       37.     The Forbearance Agreement did not waive, eliminate, or replace any of the

obligations, rights, or remedies under the Credit Agreement. It also did not cure the Events of

Default under the Credit Agreement. The Forbearance Agreement set out the terms upon which

Ampla was willing to withhold enforcement of the rights and remedies under the Credit

Agreement so long as Burke Decor remained in compliance with such terms. It also further

secured Ampla through the addition of the two Secured Corporate Guarantors, and additional

rights to enforce certain structured payments of an accelerated balance.

       38.     In the Forbearance Agreement, Defendants agreed and admitted that:

       Pursuant to the Credit Agreement, Section 33(C), Lender asserts it can accelerate
       the balance of Obligations, which as of today’s date is $7,469,495.00, plus
       hereinafter accruing contractual interest (“Balance”). Lender asserts that the
       Balance is now due and owing, in full. Borrower admits that the Balance is now
       due and owing, in full, to Lender.

(Forbearance Agreement, p.1). This provision and unequivocal admission by Burke

Decor (and Erin Burke as signatory) of default constituted an acceleration of Burke

Decor’s payment obligations under the Credit Agreement.

       39.     Defendants Au Marche and Furnishings also joined in the Forbearance Agreement

as corporate guarantors of all of Burke Decor’s Obligations under the Growth LOC:

       The guarantors signing below are affiliate companies of the Borrower (“Secured
       Corporate Guarantors”). Secured Corporate Guarantors each, joint and several to
       each other and the Borrower, absolutely and unconditionally guarantee the prompt
       payment to Lender, including its successors and assignees, of any and all
       Obligations incurred by the Borrower pursuant to the Credit Agreement, which as
       of today’s date, includes but is not limited to a running Balance of Obligations of
       $7,469,495.00 (this “Secured Corporate Guaranty”). . . . Furthermore, and not
       limiting the foregoing in any respect, Secured Corporate Guarantors each consent
       to, agree to be bound by, and otherwise join into each and every of the following
       provisions from the Credit Agreement in the same capacity as, and thus alongside
       and joint and several to Borrower, which provisions for the avoidance of any
       doubt are hereby incorporated by reference: Sections 17, 18, 19, 20, 22, 23, 25,
       26, 28, 29, 32, 33, 34, 35, 36, 39, 45, 46, 47, 48, 50 and 52.



                                                13
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     14 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 14 Desc
                        Main Document     Page 16 of 73



(Forbearance Agreement, ¶5) (emphasis in original).

       40.     The Secured Corporate Guarantors granted Ampla a security interest in “all

assets, personal property” of theirs, coextensive with the scope of Collateral defined in Paragraph

17 of the Credit Agreement (the “Guarantor Collateral”).

       41.     The Forbearance Agreement further provided that effective immediately, Burke

Decor was required to follow a detailed payment plan to reduce the amount of money Burke

Decor owed Ampla:

       Commencing Thursday, October 19, 2023, and repeating every Thursday
       thereafter, and should a Thursday be a non-banking day, then the very next day
       (Friday), Borrower shall wire transfer to the Lender Wire Account (as defined
       below) the following payments: (i) for weeks 1 through 14 inclusive
       (commencing Thursday, October 19, 2023, and ending Thursday, January 18,
       2024), $25,000 shall be wire transferred by Borrower to Lender each and every
       Thursday; (ii) for weeks 15 through 20 inclusive (commencing Thursday, January
       25, 2024, and ending Thursday, February 29, 2024), $150,000 shall be wire
       transferred by Borrower to Lender each and every Thursday; and (iii) for weeks
       21 through 25 inclusive (thus commencing Thursday, March 7, 2024, and ending
       Thursday, April 4, 2024), $250,000 shall be wire transferred by Borrower to
       Lender each and every Thursday (collectively, the “Weekly Payments”).

(Forbearance Agreement, ¶1) (emphasis in original).

       42.     Burke Decor was also required to make a lump-sum payment of “the greater of:

(i) all of Burke Decor’s cash in excess of $2,000,000, or (ii) $250,000” on January 2, 2024

(Forbearance Agreement, ¶3), along with an accounting of how the amount was determined (the

“Excess Cash Bullet Payment,” and together with the Weekly Payments, the “Forbearance

Payments”).

       43.     Burke Decor made some but not all of the Weekly Payments through December

2023. But on January 2, 2024, Burke Decor committed its first major default under the

Forbearance Agreement by failing to make the Excess Cash Bullet Payment.




                                                14
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     15 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 15 Desc
                        Main Document     Page 17 of 73



        44.       In addition, Burke Decor failed to make the full increased (from $25,000 per

week to $150,000 per week) Weekly Payments for January 25, 2024 and after. Below is a

summary of Burke Decor’s payments against the amounts owed under the Forbearance

Agreement:




        45.       Moreover, the Forbearance Agreement required Burke Decor to make payment in

full of all outstanding obligations, including but not limited to the principal balance on the

Growth LOC plus all interest, by April 11, 2024. This amount exceeded $6.3 million as of April

11, 2024. Ampla reminded Burke Decor of this deadline in advance. Burke Decor failed to

make the April 11, 2024 payment in full. Burke Decor did not offer any justification for its

failure to pay.

        46.       As a result, Defendants are in default of the Forbearance Agreement. Ampla

provided to Burke Decor and Ms. Burke a Notice of Default of the Forbearance Agreement,

which is attached as Exhibit 4. Ampla may proceed to enforce the terms of the Growth LOC and

all remedies provided thereunder.




                                                  15
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     16 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 16 Desc
                        Main Document     Page 18 of 73



                       Other Misrepresentations and Mismanagement

       47.     In addition to the foregoing breaches, concealed receivables, and other

misconduct, financials Burke Decor submitted to Ampla throughout FY2023 fraudulently

misrepresented in a material way Burke Decor’s actual financial condition.

       48.     These misrepresentations throughout 2023 became apparent in 2024.

       49.     A January 15, 2024, email from Ms. Burke revealed that Burke Decor had

submitted financials to Ampla that omitted approximately $1.5 million in accounts payable

balances.

       50.     Beginning in February 2024, Glencoe Capital (Burke Decor’s accounting

advisor) disclosed documents to Ampla related to the Growth LOC; these documents showed

that Burke Decor’s previous reporting substantially misrepresented its unfavorable financial

condition.

       51.     Glencoe Capital disclosed a preliminary Profit & Loss statement and Balance

sheet dated February 29, 2024, showing a $3.579 million write down from Burke Decor’s

previous inventory positions.

       52.     Burke Decor’s actual inventory balances were 57% lower than Burke Decor had

been reporting to Ampla.

       53.     The inaccuracy of Burke Decor’s earlier inventory reporting was further

highlighted by a January 4, 2024 Balance Sheet for Burke Decor submitted to Ampla by Glencoe

Capital, showing that Burke Decor’s inventory position, an essential metric in assessing its

compliance with the Growth LOC, had not been updated in June through August 2023.

       54.     Additionally, the February 29, 2024 preliminary Profit & Loss statement and

Balance sheet from Glencoe Capital showed a $3.178 million increase to accounts payable from



                                                16
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     17 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 17 Desc
                        Main Document     Page 19 of 73



previously reported positions. Burke Decor’s actual accounts payable balances were 142%

higher than it had reported.

       55.     Ampla was harmed by these misrepresentations because it reasonably relied on

these written financial statements and continued to extend credit to Burke Decor on the basis of

inaccurate financial information.

       56.     Credit Agreement ¶ 8, among other relevant language, provides that Ampla “may

in its sole and absolute discretion make an advance to [Burke Decor] under the Line of Credit

following its receipt of an Advance Request.” Credit Agreement ¶ 10 permits Ampla to deny an

Advance Request upon an Event of Default, which includes failure to faithfully provide reports

and other information (Credit Agreement ¶ 33(ii)). Credit Agreement ¶ 10 also permits Ampla

to deny an Advance Request upon a breach of Burke Decor’s representations and warranties,

which includes the warranty that “all books and records of Borrower are accurate and up to date

and will be so maintained” (Credit Agreement ¶ 22(vii)).

       57.     Nonetheless, Ampla continued to loan additional funds to Burke Decor into

August 2023, based upon Burke Decor’s false financial records that mislead Ampla as to both

Burke Decor’s financial condition and compliance with reporting requirements under the Growth

LOC.

       58.     Moreover, Ampla was harmed by its reasonable reliance when it forwent

available actions to pursue remedies available to it based on Burke Decor’s contractual breaches.

Ampla could have taken different actions to secure the amount owed to it had it known that

Burke Decor and Ms. Burke were submitting false financial records or had it known that Burke

Decor’s condition was worse than represented.




                                                17
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     18 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 18 Desc
                        Main Document     Page 20 of 73



                                            COUNT I
                                 Breach of Contract – Burke Decor

        59.     Ampla incorporates by reference the foregoing allegations.

        60.     The Growth LOC constitutes a valid and enforceable contract: the Credit

Agreement and Forbearance Agreement are in writing and signed by Burke Decor through Ms.

Burke in her capacity as its President and sole member, and the mutual obligations and rights

arising under the Credit Agreement and Forbearance Agreement are good and valuable

consideration supporting the bargain therein.

        61.     Ampla performed its obligations under the Growth LOC by, among other things:

(1) advancing funds pursuant to Burke Decor’s Advance Requests; (2) providing Notice of

Default under the Credit Agreement and Forbearance Agreement to Burke Decor, Erin Burke,

Au Marche, and Furnishings; and (3) providing Burke Decor, Erin Burke, Au Marche, and

Furnishings an opportunity to cure the Events of Default.

        62.     As set forth herein, Burke Decor breached the Growth LOC by, among other

things: (1) failing to fulfill its obligations with respect to the deposit of all receivables in the

Designated Checking Account; (2) failing to accurately and fully report its receivables and other

financial information to Ampla; (3) diverting receivables to accounts other than to the

Designated Checking Account; (4) failing to deposit promptly all receivables into the Designated

Checking Account; (5) using receivables (prior to Ampla’s receipt of the related Collection

Amount) and advanced funds for purposes other than those permitted under the Credit

Agreement and Forbearance Agreement, including transferring funds to unauthorized entities;

(6) blocking or stopping ACH transfers of payments from sales; (7) blocking or stopping ACH

transfers from the Designated Checking Account to Ampla; (8) failing to make all of the

Forbearance Payments; and (9) submitting false financial records to Ampla.

                                                   18
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     19 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 19 Desc
                        Main Document     Page 21 of 73



       63.     As a result of Burke Decor’s multiple breaches of the Growth LOC, Ampla has

been damaged in an amount in excess of $6.4 million (inclusive of principal and currently-

accrued interest), plus interest continuing to accrue at the contractual rate, plus all costs and

expenses incurred (the “Outstanding Balance”).

       64.     As a result of these breaches, Ampla is entitled to, among other remedies

provided in the Growth LOC: (1) compensatory damages in an amount equal to the Outstanding

Balance; (2) appointment of a receiver to assemble, possess, and dispose of the Collateral, and

exercise all rights and powers provided under Paragraph 33 of the Credit Agreement; (3) costs

and reasonable attorneys’ fees incurred in enforcing the Growth LOC (see Credit Agreement,

¶26); and (4) any other relief which this Court deems just and proper.

                                          COUNT II
                           Breach of Limited Guaranty – Erin Burke

       65.     Ampla incorporates by reference the foregoing allegations.

       66.     In signing the Growth LOC as a Limited Guarantor of Burke Decor’s Obligations,

Erin Burke agreed as follows:

       The guarantor signing below is an owner or partial owner of the Borrower
       (“Limited Guarantor”). The Limited Guarantor understands and agrees that he or
       she, in his or her individual and personal capacity, shall be liable, but only liable,
       for losses and/or damages caused by Borrower’s gross negligence, willful
       misconduct, misrepresentation or fraud. Such Limited Guarantor will benefit by the
       transactions contemplated under this Agreement, and Lender executes this
       Agreement based on such Limited Guarantor agreeing to this Limited Guaranty.

(Credit Agreement, Signature Page).

       67.     The Limited Guaranty in the Growth LOC is a valid and enforceable contract: it is

in writing, signed by Ms. Burke, and supported by valuable consideration. Specifically—as

stated in the Limited Guaranty—Ms. Burke personally benefited from the Growth LOC because




                                                  19
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     20 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 20 Desc
                        Main Document     Page 22 of 73



she was the President and sole member of Burke Decor, with an interest in its growth and

financial condition.

       68.      Ms. Burke and Burke Decor made written financial misrepresentations to Ampla,

knowing they were substantially inaccurate, with the intention that Ampla would rely upon them.

Ms. Burke and Burke Decor also concealed receivables from Ampla. These actions constituted

misrepresentations and fraud as detailed herein, triggering Erin Burke’s personal guarantee under

the Growth LOC.

       69.     Ms. Burke and Burke Decor also engaged in willful misconduct or gross

negligence, which interfered with Ampla’s rights under the Growth LOC, including among other

things: (1) diverting receivables to accounts other than the Designated Checking Account and

otherwise concealing receivables, despite knowing that such diversion would interfere with

Ampla’s ability to determine and realize the Collection Amount; (2) using receivables to fund

business operations rather than service debt obligations prior to Ampla’s receipt of the related

Collection Amount; (3) using advanced funds for purposes other than those permitted under the

Credit Agreement and Forbearance Agreement; (4) failing to hold the receivables in trust for

Ampla; (5) making distributions to Erin Burke—and non-authorized entities that she owns—

from receivables prior to Ampla’s receipt of the Collection Amount and/or from the advanced

funds; (6) initiating an ACH debit block on Ampla in an intentional effort to block Ampla from

collecting repayment; and (7) submitting false financial records to Ampla. At all times, Ms.

Burke and Burke Decor intended, knew, or should have known that these actions would deprive

Ampla of its contractual rights and repayment. These actions exceeded a breach of the Growth

LOC terms and constituted a deliberate attempt to conceal assets from Ampla, misrepresent

Burke Decor’s financial condition, and deny Ampla’s ability to receive sums due under the



                                                20
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     21 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 21 Desc
                        Main Document     Page 23 of 73



Growth LOC structure. This willful misconduct and gross negligence also triggered Erin

Burke’s personal guarantee.

       70.     Burke Decor’s and Ms. Burke’s misrepresentations, willful misconduct, gross

negligence, and fraud were a direct and proximate cause of the Events of Default under the

Growth LOC.

       71.     As a result of Burke Decor’s and Ms. Burke’s misrepresentations, willful

misconduct, gross negligence, and fraud, the Limited Guaranty is triggered and Ms. Burke is

personally liable for the Outstanding Balance as provided under the Growth LOC.

       72.     Ampla has notified Ms. Burke of the Events of Default under the Growth LOC

and demanded payment in full of all obligations due and payable to Ampla under the Limited

Guaranty, which payment Ms. Burke has not made.

       73.     Ms. Burke’s failure to make all payments due and owing to Ampla under the

Limited Guaranty constitutes a breach of the Limited Guaranty.

       74.     As a result of Ms. Burke’s breach of the Limited Guaranty, Ampla has been

damaged in an amount equal to the Outstanding Balance.

       75.     Ampla is entitled to an award of compensatory damages against Ms. Burke in an

amount equal to the Outstanding Balance. In addition to the Outstanding Balance, Ampla is

entitled to an award of all costs and reasonable attorneys’ fees incurred in enforcing the Growth

LOC and the Limited Guaranty.

                                       COUNT III
                     Breach of Guaranty – Au Marche and Furnishings

       76.     Ampla incorporates by reference the foregoing allegations.

       77.     The Secured Corporate Guaranty is a valid and enforceable contract: it is in

writing and signed on behalf of Au Marche and Furnishings by Ms. Burke as their member.

                                                21
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     22 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 22 Desc
                        Main Document     Page 24 of 73



       78.     The exchange of promises in the Forbearance Agreement was good and valuable

consideration for the Secured Corporate Guaranty, especially because Au Marche and

Furnishings had an interest in the financial condition of Burke Decor and the contemplated

forbearance as affiliated entities operating in a support capacity to Burke Decor. Specifically,

Ms. Burke had represented to Ampla that Au Marche operated as Burke Decor’s payroll

company for its California operations, and Furnishings was a retail store for Burke Decor’s

California operations.

       79.     As set forth herein, Events of Default have occurred under the Growth LOC,

thereby triggering Au Marche’s and Furnishings’ obligations under the Secured Corporate

Guaranty.

       80.     Ampla has demanded payment in full of all Obligations due and payable to

Ampla, which payment has not been made.

       81.     Au Marche’s and Furnishings’ failure to make all payments due and owing to

Ampla under the Secured Corporate Guaranty constitutes a breach of the Secured Corporate

Guaranty.

       82.     As a result of Au Marche’s and Furnishings’ breach of the Secured Corporate

Guaranty, Ampla has been damaged in an amount equal to the Outstanding Balance.

       83.     Ampla is entitled to an award of compensatory damages against Au Marche and

Furnishings, jointly and severally, in an amount equal to the Outstanding Balance. In addition to

the Outstanding Balance, Ampla is entitled to an award of all costs and reasonable attorneys’

fees incurred in enforcing the Growth LOC and the Corporate Guaranty.




                                                22
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     23 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 23 Desc
                        Main Document     Page 25 of 73



                                           COUNT IV
                                     Appointment of a Receiver

        84.     Ampla incorporates by reference the foregoing allegations.

        85.     The Credit Agreement provides as one of the remedies available to Ampla at any

time following an Event of Default the appointment of a receiver. The Credit Agreement

provides, in relevant part, that the appointed receiver shall have the right to “to take possession

of all or any part of the Collateral, with the power to protect and preserve . . . operate . . . collect

the payments, rents, income, and revenues from . . . [and] apply it to payment of [Burke Decor’s]

Obligations. (Credit Agreement, ¶33(F).) Further, the receiver has the power to: (1) sell the

collateral; (2) receive and open Burke Decor’s mail; (3) change Burke Decor’s mailing address;

(4) endorse notes, checks, drafts, money orders, titles, instruments, payments, and shipments on

behalf of Burke Decor; and (5) direct Burke Decor’s account debtors to make payments directly

to Ampla. (Credit Agreement, ¶33(E), (G)).

        86.     As set forth herein, multiple Events of Default have occurred, thereby triggering

Ampla’s contractual right to the appointment of a receiver.

        87.     In addition to this contractual remedy, a receiver is appropriate to preserve,

protect, and/or sell Burke Decor’s assets, to operate Burke Decor, as well as to collect rents and

revenues received by Burke Decor.

        88.     As set forth herein, Defendants have transferred receivables and loaned amounts

to unauthorized entities and for purposes not permitted under the Growth LOC. They have over-

reported inventory and under-reported accounts payable, creating a dramatically false picture of

financial health. Defendants have moved receivables into accounts other than the Designated

Checking Account, so that Ampla could not calculate or collect the sums due to it from that

account as set forth in the Growth LOC.

                                                   23
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     24 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 24 Desc
                        Main Document     Page 26 of 73



        89.     In addition, Ms. Burke has made recent representations to Ampla suggesting that

Burke Decor is illiquid, may become insolvent, and is unable to operate while also satisfying its

outstanding obligations to Ampla and other creditors. Buke Decor has informed Ampla that it

does not have sufficient access to its cash collected from revenues, and has disclosed that it has

only $15,000 in operating cash as of April 1, 2024. A March 31, 2024 Daily Dashboard

provided to Ampla by Burke Decor shows that Burke Decor had negative liquidity for twenty-

four days out of the month of March 2024, with a low point of negative $27,205.

        90.     Further, Burke Decor has been placed on a MATCH List by its payment processor

Shopify. This designation signals that Burke Decor has excessive chargebacks and is a high-risk

account for payment processors. As a result of this designation, Burke Decor’s payment

processors are holding high cash reserves, which have further deprived Burke Decor of access to

sufficient operating capital to meet its obligations.

        91.     Burke Decor is also facing issues with Intuit and Paypal, who are also holding

high cash reserves. Ampla has learned that Burke Decor has collected funds from customers (on

pre-payment), but has not fulfilled related orders. The value of Burke Decor’s outstanding

customer obligations is unknown at this time, but upon information and belief, is estimated to be

in the millions of dollars.

        92.     Burke Decor’s President, Erin Burke, is struggling to resolve the payment

processor issues, loan defaults, and business operations. She has hired two different

restructuring officers simultaneously, has engaged investment banks, and has attempted potential

sales of the business. None of these actions has meaningfully improved the business or financial

condition of Burke Decor. In light of these additional expenditures and continued operational

failures, Ampla believes that there is a substantial likelihood that Burke Decor will continue to



                                                  24
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     25 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 25 Desc
                        Main Document     Page 27 of 73



deplete its resources—thereby diminishing and devaluing Ampla’s Collateral and, in the end,

preventing Ampla from recovering all money due it.

       93.     Appointment of a receiver would provide greater oversight over Burke Decor’s

operations and financial decisions, thereby providing greater security over the Collateral.

Further, as an objective third party, the receiver will have the ability to administer the operations

and assets of Burke Decor impartially, and negotiate resolutions to other ongoing business

difficulties that Burke Decor is facing.

                                         COUNT V
                             Fraud – Burke Decor and Erin Burke

       94.     Ampla incorporates by reference the foregoing allegations.

       95.     Burke Decor and Erin Burke made material misrepresentations of fact in writing

to Ampla when they misrepresented Burke Decor’s financials, specifically inventory and

accounts payable amounts that were inaccurately reported as of June 2023 or earlier and

continued to be inaccurately reported into 2024. As set forth herein, Burke Decor’s actual

inventory balances were 57% lower than Burke Decor and Ms. Burke had reported to Ampla,

and Burke Decor’s actual accounts payable balances were 142% higher than Burke Decor and

Ms. Burke had reported to Ampla.

       96.     Burke Decor and Erin Burke would have had knowledge of the falsity of these

records based on their daily operations of their business.

       97.     Burke Decor and Erin Burke submitted the false records with the intent of

inducing reliance by Ampla, specifically that Ampla would continue to extend additional loan

amounts.

       98.     Ampla was entitled to rely on Burke Decor and Erin Burke’s financial records,

and Ampla did so reasonably and justifiably. Ampla extended additional loan amounts into

                                                 25
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     26 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 26 Desc
                        Main Document     Page 28 of 73



August 2023 based upon Burke Decor’s misrepresentations about its financial condition and

compliance with reporting requirements under the Growth LOC. Further, based on Ampla’s

reasonable reliance on Erin Burke and Burke Decor’s knowing and intentional

misrepresentations, Ampla did not take steps at that time to pursue remedies available to it under

the Growth LOC. Absent accurate disclosures from Burke Decor, Ampla did not have the means

to determine the true nature of the information by exercising ordinary diligence.

       99.     Burke Decor and Erin Burke’s conduct has proximately harmed Ampla in the

amount of additional credit extended on the basis of Burke Decor and Erin Burke’s fraudulent

misrepresentations. Additionally, Ampla has been proximately harmed in the amount of the

entire Outstanding Amount, because, based on Ampla’s reasonable reliance on Erin Burke and

Burke Decor’s knowing and intentional misrepresentations, Ampla did not take steps at that time

to pursue remedies available to it under the Growth LOC.

       100.    Ampla is entitled to an award of compensatory and punitive damages against

Burke Decor and Erin Burke.

                                      COUNT VI
                  Fraudulent Concealment – Burke Decor and Erin Burke

       101.    Ampla incorporates by reference the foregoing allegations.

       102.    Burke Decor and Erin Burke had a duty to disclose material facts, specifically

Burke Decor’s accurate financials as to inventory and accounts payable amounts that were

falsely reported as of June 2023 or earlier and continued to be falsely reported until 2024. As set

forth herein, Burke Decor’s actual inventory balances were 57% lower than Burke Decor and

Ms. Burke had reported to Ampla, and Burke Decor’s actual accounts payable balances were

142% higher than Burke Decor and Ms. Burke had reported to Ampla. The maintenance and




                                                26
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     27 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 27 Desc
                        Main Document     Page 29 of 73



submission of false financial records was a violation of the representations and warranties under

the Growth LOC.

       103.    Additionally, Burke Decor and Erin Burke had a duty to disclose and make

available to Ampla for collection Burke Decor’s receivables. Instead, as described herein, Burke

Decor and Erin Burke diverted receivables, concealing those receivables from Ampla, and

preventing Ampla from collecting receivable due to it under the Growth LOC.

       104.    Burke Decor and Erin Burke had knowledge of Burke Decor’s actual and accurate

financial records and receivables based on their daily operations of their business, and thus knew

the true data they were bound to disclose to Ampla.

       105.    Nonetheless, Burke Decor and Erin Burke failed to discharge their duties to

disclose. Rather than report accurate inventory, accounts payable, receivables, and other

financials, they provided Ampla with inaccurate financials that concealed Burke Decor’s true

condition by over-representing inventory, under-representing accounts payable, and concealing

receivables. Burke Decor and Erin Burke did not correct the inaccuracies.

       106.    Burke Decor and Erin Burke knowingly concealed Burke Decor’s accurate

financial condition and receivables with the intent of inducing reliance by Ampla, specifically

that Ampla would continue to extend additional loan amounts and would not collect the full

amount of receivables owed to it.

       107.    Ampla was entitled to rely on Burke Decor and Erin Burke’s financial records and

reported receivables, and Ampla did so reasonably and justifiably. Ampla extended additional

loan amounts into August 2023 based the concealment of Burke Decor’s actual financial

condition and failure to comply with reporting requirements under the Growth LOC. Ampla

collected less receivables than it was owed based upon the concealment of Burke Decor’s actual



                                                27
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     28 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 28 Desc
                        Main Document     Page 30 of 73



receivables. Further, based on Ampla’s reasonable reliance on Erin Burke and Burke Decor’s

knowing and intentional concealment, Ampla did not take steps at that time to pursue remedies

available to it under the Growth LOC. Absent accurate disclosures from Burke Decor, Ampla

did not have the means to determine the true nature of the information by exercising ordinary

diligence.

       108.    Burke Decor and Erin Burke’s conduct has proximately harmed Ampla in the

amount of additional credit extended on the basis of Burke Decor and Erin Burke’s fraudulent

concealment. Additionally, Ampla has been proximately harmed in the amount of the additional

receivables it would have collected had Burke Decor and Erin Burke not diverted and concealed

those receivables. Additionally, Ampla has been proximately harmed in the amount of the entire

Outstanding Amount, because, based on Ampla’s reasonable reliance on Erin Burke and Burke

Decor’s knowing and intentional concealment, Ampla did not take steps at that time to pursue

remedies available to it under the Growth LOC.

       109.    Ampla is entitled to an award of compensatory and punitive damages against

Burke Decor and Erin Burke.

                                        COUNT VII
                              Aiding and Abetting – Erin Burke

       110.    Ampla incorporates by reference the foregoing allegations.

       111.    To the extent that it is determined that only Burke Decor fraudulently misstated or

concealed material facts, Erin Burke aided and abetted the fraud.

       112.    As alleged herein, the maintenance of false financial records, the submission of

those records to Ampla, and the concealment of material financial information from Ampla

constitute multiple underlying frauds.




                                               28
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     29 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 29 Desc
                        Main Document     Page 31 of 73



         113.   By virtue of her role as principle of Burke Decor, her daily operation of the

business, and her interaction with Ampla, Erin Burke had knowledge of the frauds.

         114.   Erin Burke provided substantial assistance in achieving the frauds by maintaining

and submitting the false financials, helping to conceal Burke Decor’s actual financial condition

and receivables, otherwise enabling the fraud, and/or failing to act when required to do so.

         115.   Her actions proximately caused the harm to Ampla set forth in its fraudulent

misrepresentation and fraudulent concealment claims herein.

         116.   Ampla is entitled to an award of compensatory and punitive damages against Erin

Burke.

                                          COUNT VIII
                               Costs and Reasonable Attorney Fees

         117.   Ampla incorporates by reference the foregoing allegations.

         118.   The Credit Agreement provides at Paragraph 26 that if Burke Decor defaults on

its obligations, Ampla is entitled to recover:

         any and all expenses, including, but not limited to, collection costs, all attorneys’
         fees and expenses, and all other expenses of like or unlike nature which may be
         expended by Lender to obtain or enforce payment of Obligations either as against
         Borrower or in the prosecution or defense of any action or concerning any matter
         arising out of or connected with the subject matter of this Agreement, the
         Obligations, or any of Lender’s rights or interests therein or thereto . . .

(Credit Agreement, ¶26). Further, because Ms. Burke’s, Au Marche’s, and Furnishings’ liability

under the respective guaranties are triggered as described above, Ampla is entitled to recover

these costs and attorneys’ fees against all four of these Defendants, jointly and severally.

         119.   At the conclusion of this lawsuit, Ampla will submit to the Court for in camera

review an accounting of all costs and attorneys’ fees sought herein.




                                                  29
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     30 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 30 Desc
                        Main Document     Page 32 of 73



                                             COUNT IX
                                          Sale of Collateral

       120.    Ampla incorporates by reference the foregoing allegations.

       121.    In order to secure the obligations of Burke Decor, Burke Decor – through the

Growth LOC – pledged the Collateral to Ampla.

       122.    Because of Burke Decor’s defaults, as set forth herein, and pursuant to the terms

of the Growth LOC, Ampla is entitled to foreclose and sell the Collateral described herein at

public or private sale in accordance with the lien priority of all parties with an interest in the

Collateral.

       123.    The SBA may have interest in the Collateral, by virtue of filed UCC-1 financing

statements.

                                             COUNT X
                                             Accounting

       124.    Ampla incorporates by reference the foregoing allegations.

       125.    Ampla lent money to Burke Decor pursuant to the Growth LOC, and had a right

to collect a percentage of all of Burke Decor’s receivables as payment.

       126.    Burke Decor failed to deposit all of its receivables into the Designated Checking

Account to facilitate Ampla’s calculation and realization of the Collection Amount.

       127.    Absent an accounting from Burke Decor, the actual value of receivables subject to

collection cannot be determined and, as a result, the amount due and owing to Ampla cannot be

determined with accuracy.

       128.    Ampla is entitled to an accounting of all of Burke Decor’s receivables from the

outset of the Growth LOC through the present.




                                                  30
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     31 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 31 Desc
                        Main Document     Page 33 of 73



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Ampla, LLC requests the Court to enter the following relief:

       A.      On Count I, judgment in favor of Ampla and against Burke Decor for breach of

contract, and an award of compensatory damages in an amount equal to the Outstanding

Balance;

       B.      On Count II, judgment in favor of Ampla and against Ms. Burke for breach of the

Limited Guaranty, and an award of compensatory damages in an amount equal to the

Outstanding Balance;

       C.      On Count III, judgment in favor of Ampla and against Au Marche and

Furnishings for breach of the Secured Corporate Guaranty, and an award of compensatory

damages in an amount equal to the Outstanding Balance;

       D.      On Count IV, that a receiver be appointed to take possession of, preserve, and

operate Burke Decor, and exercise all powers contemplated in the Growth LOC and all powers

granted within the equitable powers of this Court;

       E.      On Counts V, VI, and VII judgment in favor of Ampla and against Burke Decor

and Erin Burke for fraudulent misrepresentations and/or fraudulent concealment, and an award

of compensatory and punitive damages;

       F.      On Count VIII, that Ampla be awarded all reasonable attorneys’ fees and costs in

enforcing its rights under the Growth LOC;

       G.      On Count IX, that Ampla be found to have a good and valid lien in the Collateral,

and that the Collateral be sold at a public or private sale;

       H.      On Count X, that Ampla be found entitled to an accounting of all of Burke

Decor’s receivables from the outset of the Growth LOC through Present;



                                                  31
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                            Doc Filed
                                #: 1 Filed:
                                      12/30/24
                                            05/14/24
                                                Entered
                                                     32 of
                                                        12/30/24
                                                           32. PageID
                                                                 19:00:45
                                                                      #: 32 Desc
                        Main Document     Page 34 of 73



      I.    An award of Ampla’s reasonable attorneys’ fees and costs; and

      J.    Such other and further relief that is fair and equitable.



                                           Respectfully submitted,


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                                           Attorneys for Plaintiff, Ampla LLC




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                         4:24-cv-00869-JGDoc 92
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                                                                  Entered1 12/30/24
                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 33 Desc
                                         Main Document      Page 35 of 73

                                     SUPPLEMENT
                                        PPLEMENT TO
                             GROWTH LINE OF CREDIT AGREEMENT
                  Term                                Amount                                  Simple Explanation
                                                                                               As your business grows, you can
              Maximum                                                                          draw up to this amount.
              Line Size                          $16,000,000
                                                                                               (See the Agreement for more detail)



                                                                                               The amount you can draw today.
             Credit Limit                          $8,217,028                                  (See the Agreement for more detail)




                                                                  Advance
                                      Metric           Amount                      Limit       This is how your Credit Limit is
                                                                   Rate
                                                                                               calculated. This limit is based on
             Credit Limit            Monthly
                                                     $6,847,523    120%          $8,217,028
                                                                                               business performance as your
                                    Cashflows                                                  business metrics update.
             calculation
                                      Total                                      $8,217,027    (See the Agreement for more detail)




                                   Credit Limit Utilization       Collection Percentage
                                                                                               We collect a percentage of your
              Collection                  81-100%                         40%                  Receivables for repayment. This
                                                                                               amount is based on your Utilization
              Percentage                   61-80%                         32%
                                                                                               of the Credit Limit.
                                           41-60%                         24%
                 Grid
                                           21-40%                         16%                  (See the Agreement for more detail)

                                           0-20%                            8%




                                                                                              This is the annualized cost to you.

                                                                                              There are no late payment fees,
              Applicable
                APR
                                                EFFR + 10.00%                                 underwriting fees, or any other
                                                                                              hidden fees.

                                                                                              (See the Agreement for more detail)



                                 Does prepayment of this Loan result in any new fees or
             Prepayment          charges?                                                                     NO
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                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 34 Desc
                                         Main Document      Page 36 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                   AGREEMENT

                                                                         Principal Outstanding, minus (3) Third-Party Financing
                                                                         obligations outstanding;
    1. INTRODUCTION. This Growth Line of Credit Agreement
    (together with the accompanying Growth Line of Credit                "Base Rate" means, as of any date of determination, a rate per
    Agreement Supplement (“Supplement”) and the accompanying             annum rounded upwards, if necessary, to the nearest 1/100 of 1%
    Authorization Agreement for Direct Deposits (ACH Credits) and        (2 decimal places) equal to the rate of interest which is identified
    Direct Payments (ACH Debits), the “Agreement”) governs your          and normally published by the New York Federal Reserve at
    revolving business line of credit and security agreement and any     approximately 9:00 AM on the business day prior to the date of
    and all Advances (as defined below) hereunder (together, the         determination for the date that is two (2) business days prior to
    “Line of Credit”) from Ampla, LLC. Please read it and keep it for    the date of determination, on a webpage called the Effective
    your reference. In this Agreement, “Borrower” means the              Federal Funds Rate (“EFFR”) (or any equivalent page used by
    Borrower identified on the signature page of this Growth Line of     the New York Federal Reserve or, if the New York Federal
    Credit Agreement. The word “Lender” means Ampla, LLC, its            Reserve no longer reports the EFFR, another nationally-
    agents and representatives, as well as its successor(s) and          recognized rate reporting source acceptable to Lender),
    assign(s).                                                           calculated as a volume-weighted median of overnight federal
                                                                         funds transactions reported in the FR 2420 Report of Selected
    2. CERTAIN DEFINITIONS. For purposes of this Agreement,              Money Market Rates. For the avoidance of doubt, the Base Rate
    the term:                                                            as of any date of determination shall be the EFFR as of two (2)
                                                                         business days prior. If the New York Federal Reserve (or another
    “Access Details” means the username, login and password details      nationally-recognized rate reporting source acceptable to Lender)
    for Borrower’s Designated Checking Account, Card Processor           no longer reports the EFFR, Lender may select a comparable
    Account(s), Ecommerce Account(s), and third-party services           replacement index or replacement page, as the case may be, in its
    which include, but are not limited to, Digital Marketing Accounts    sole discretion. Notwithstanding the foregoing, in no event shall
    and such other accounts as may be required from time to time,        the Base Rate be less than two percent (2.00%) at any time.
    provided by Borrower to Lender as part of the application
    process, either directly or via 3rd party authentication services;   “Card Processer Account” means, Borrower’s payment processor
                                                                         account with Shopify Pay, Stripe, or such other third-party card
    “Advance” shall have the meaning set forth in Section 8;             processor deemed acceptable to Lender at Lender’s sole
                                                                         discretion;
    “Advance Rate,” means, the applicable percentage set forth in
    the above Supplement, or such higher or lower percentage as          “Collection Amount” means, with respect to each day
    determined by Lender in its sole discretion from time to time;       Obligations remains outstanding, the amount that Lender is
                                                                         entitled to debit from the Designated Checking Account, which
    “Advance Request” shall have the meaning set forth in Section 9;     shall equal the applicable amount of the Daily Receivables for the
                                                                         prior day multiplied by the Collection Percentage;
    "Applicable APR" means, as of any date of determination, the
    annual percentage rate then identified as the Applicable APR in
                                                                         “Collection Percentage” means the daily collection percentage of
    the Online Account; it being acknowledged and agreed that (x)
                                                                         Daily Receivables set out in Lender’s Collection Percentage Grid
    the Applicable APR shall equal the Base Rate plus the Applicable
    Margin; and (y) any such increase or decrease shall in no way        as made available to Borrower via the Online Account;
    affect Borrower’s obligation to pay any amounts owed by
    Borrower hereunder; notwithstanding the foregoing, for Texas         “Collection Percentage Grid” means, the schedule as set forth
    Borrowers only, the Applicable APR shall not exceed the weekly       in the Online Account of (i) the Collection Percentage, which
    ceiling applicable to extensions of commercial credit only, as       is a relational function determined in Lender’s sole discretion
    such weekly ceiling is defined in the Texas Finance Code and as      based on (ii) Credit Limit Utilization;
    documented in the Texas credit letter published weekly by the
    Texas Office of Consumer Credit Commissioner;                        “Credit Limit” means, as of any date of determination, the
                                                                         amount then identified as the Credit Limit in the Online Account;
    “Applicable Margin” means, as of any date of determination, the      it being acknowledged and agreed that the Credit Limit shall be
    annual percentage rate then identified as the Applicable Margin      equal to: (i) “Monthly Cashflows” multiplied by the “Advance
    in the Online Account, it being acknowledged and agreed that the     Rate”; but in no event shall the Credit Limit exceed the
    initial Applicable Margin shall equal the amount set forth on the    Maximum Line Size;
    accompanying Supplement;
                                                                         “Credit Limit Utilization” means, as of any date of
    “Available Advance Amount” means, as of any date of                  determination, a percentage equaling: the maximum of, for all
    determination, an amount equal to (1) the Credit Limit, minus (2)    Advances that remain outstanding, (x) the total Principal
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                                                                  Entered3 12/30/24
                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 35 Desc
                                         Main Document      Page 37 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                       AGREEMENT

    Outstanding at the time of disbursement of such Advance,                 acceptable retail channels. The retail channels considered
    divided by (y) the Credit Limit at the time of disbursement of           acceptable are determined at Lender’s sole and absolute
    such Advance; it being understood that the greater the Credit            discretion;
    Limit Utilization, the greater the Collection Percentage will be,
    as determined in Lender’s sole discretion;                               “Obligations” means, with respect to Borrower, all obligations to
                                                                             perform acts and refrain from taking action hereunder, including,
    “Daily Interest Charge” means, as of any date of determination,          without limitation, obligations to pay all amounts owed
    an amount equal to the product of (x) the Daily Interest Rate; and       hereunder including, without limitation, Principal Outstanding
    (y) Principal Outstanding as of such date immediately prior to           and Interest Outstanding;
    any application and allocation of principal in connection with any
    payment, if any, made by Borrower on such date, as set forth on          “Online Account” means, Borrower’s login details and account
    the Lender’s books and records;                                          information on Lender’s online customer portal;

    “Daily Interest Rate” means, a non-compounding rate obtained             “Principal Outstanding” means, as of any date of determination,
    by dividing (x) the Applicable APR by (y) three hundred and              the aggregate outstanding principal balance of all Advances
    sixty (360);                                                             hereunder as set forth on the Lender’s books and records, which,
                                                                             for the avoidance of doubt, does not include interest as Lender
    “Daily Receivables” means, with respect to any particular day,           does not compound interest;
    the total amount of Receivables received on such day;
                                                                             “Processing Trial” shall have the meaning set forth in Section 8;
    “Debit Schedule” shall have the meaning set forth in Section 11;
                                                                             “Receivables” means any and all cashflows that Borrower
    “Designated Checking Account” shall be a checking account in             generates as part of its business;
    Borrower’s name and hosted at a banking institution chosen by
                                                                             “Scheduled Payment Date” means every business day in which
    Lender in Lender’s sole discretion;
                                                                             the bank hosting the Designated Checking Account is open for
                                                                             business;
    “Digital Marketing Account” means, Borrower’s accounts with
    Google (including AdWords and Analytics), Facebook, and any              “Supplement” means the summary of certain terms included at
    other third-party digital marketing platform through which
                                                                             the beginning of this Agreement and forming a part of this
    Borrower purchases advertisements;
                                                                             Agreement; and
    “Ecommerce Platform” means Shopify or such other ecommerce
    platforms as approved in Lender’s sole discretion;                       “Third-Party Financing” means Borrower’s outstanding debt-
                                                                             financing obligations to third-parties, including but not limited to,
    “Interest Outstanding” means, as of any date of determination,           credit card advance companies, cash advance companies, or working
    the aggregate amount of accrued and unpaid interest as set forth         capital lenders.
    on the Lender’s books and records;
                                                                             3. EFFECTIVE DATE. This Agreement begins on the date
    “Maximum Line Size” means the capped ceiling as set and as may           Lender countersigns, below. Borrower understands and agrees
    be increased by Lender in its sole discretion for total Advances         that Lender may postpone, without penalty, the disbursement of
    Lender will make under this Agreement, notwithstanding any other         amounts to Borrower under the Line of Credit (including, for the
    terms to the contrary, as set forth initially in the Supplement and as   avoidance of doubt, any and all Advances) until Lender has
    updated by Lender in the Online Account;                                 received the accompanying Authorization Agreement for Direct
                                                                             Deposit (ACH Credit) and Direct Payments (ACH Debits).
    “Monthly Cashflows” means, the lesser of (a) the last 30 days of         4. AUTHORIZATION. Borrower agrees that the Line of Credit
    revenue-related cash receipts and (b) the 30-day average of the          (including, for the avoidance of doubt, any and all Advances)
    last 90 days of revenue-related cash receipts, adjusted at Lender’s      made by Lender to Borrower and any and all Advance Requests
    sole discretion for seasonality, accounts receivable, uninvoiced         (as defined below) shall be conclusively deemed to have been
    sales orders, expected future growth, historical non-recurring           authorized by Borrower and to have been made pursuant to duly
    sales, and such other factors to allow Lender in its sole discretion     authorized requests on its behalf.
    to estimate Borrower’s future, near-term, anticipated Receivables
    for purposes of underwriting and approving, again in its sole            5. ACCESS TO ONLINE ACCOUNT. When Borrower signs
    discretion, Advances hereunder. For the avoidance of doubt,              in to its Online Account, Borrower can obtain information about
    Monthly Cashflows shall only include ecommerce sales made                Borrower’s Line of Credit, make an Advance Request as
    through a Card Processor Account and retail sales made through
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                                                                  Entered4 12/30/24
                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 36 Desc
                                         Main Document      Page 38 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                    AGREEMENT

    provided for herein and perform such other actions made                 promptly account for and report to Lender all Receivables due
    available by Lender from time to time. No additional paper              and unpaid and all payments received in connection with any and
    statement will be mailed to Borrower. Borrower agrees not to            all Receivables, in accordance with the terms of this Agreement,
    share Borrower’s username and password to Borrower’s Online             in order to allow us to debit the Designated Checking Account
    Account with any third-party. Borrower must promptly report             for the Collection Amount in accordance with the terms of this
    any unauthorized use of Borrower’s Online Account to Lender             Agreement.
    by telephone at (833) 678-7483 or by email at
    compliance@getampla.com.                                                C. Borrower further agrees to hold the Receivables and all
                                                                            payments received in connection therewith in trust for Lender and
    6. LINE OF CREDIT FOR SPECIFIC PURPOSES ONLY.                           not sell or otherwise transfer, convey or dispose of the
    The proceeds of the Line of Credit (including, for the avoidance        Receivables inconsistent with the terms of this Agreement.
    of doubt, any and all Advances) may solely be used for the
    specific purposes as set forth in the Use of Proceeds Certification     8. ADVANCES; PROCESSING TRIAL.
    contained in Section 52 below, and not for any other purposes. In
    addition, the Line of Credit (including, for the avoidance of           A. Subject to the terms and conditions hereunder, the Lender may
    doubt, any and all Advances) will not be used for personal, family      in its sole and absolute discretion make an advance to the
    or household purposes, and Borrower is forever estopped from            Borrower under the Line of Credit following its receipt of an
    taking the position that such Loan (including Advances) are or          Advance Request (as defined below) by disbursing proceeds
    were used for such personal, family or household purposes.              from time to time to the Borrower in the manner set forth herein
    Borrower understands that Borrower’s agreement not to use the           (each an “Advance” and, collectively “Advances”). Borrower
    proceeds of the Line of Credit (including, for the avoidance of         acknowledges and agrees that the Lender shall not be required to,
    doubt, any and all Advances) for personal, family or household          and the Borrower shall not request the Lender to, make an
    purposes means that certain important duties imposed upon               Advance (i) in an amount that is less than certain minimum
    entities making loans for personal, family or household purposes,       advance amounts established by Lender in its sole and absolute
    and certain important rights conferred upon such persons,               discretion from time to time, (ii) in an amount that exceeds the
    pursuant to federal or state law will not apply to the Line of Credit   Available Advance Amount as of such date. In the event that
    (including, for the avoidance of doubt, any and all Advances), the      Lender has made an Advance in an amount that exceeds the
    Online Account or this Agreement. Borrower also understands             Available Advance Amount as of the date of such Advance,
    that Lender will be unable to confirm whether the use of the Line       Borrower agrees (x) at Lender’s request, to immediately repay
    of Credit (including, for the avoidance of doubt, any and all           the amount of such excess; and (y) that any such excess will not
    Advances) conforms to this section. Borrower agrees that a              be deemed to constitute an increase in the Credit Limit hereunder.
    breach by Borrower of the provisions of this section will not
    affect Lender’s right to (i) enforce Borrower’s promise to pay for      B. Following the entry into this Agreement, but prior to any
    all amounts owed under this Agreement, regardless of the                Advance to Borrower, Borrower hereby permits Lender to
    purpose for which the Line of Credit (including, for the avoidance      conduct a preliminary processing trial to test: (a) that the ACH
    of doubt, any and all Advances) is in fact obtained or used or (ii)     payment functionality with Borrower is operating as Lender
    use any remedy legally available to Lender, even if that remedy         expects; (b) that Lender can access data within the Card Processor
    would not have been available had the Line of Credit (including,        account and/or Ecommerce Platform account correctly; (c) that
    for the avoidance of doubt, any and all Advances) been made for         Borrower’s transactions are being correctly processed through
    personal, family or household purposes.                                 the Card Processor or Ecommerce Platform and are visible to
                                                                            Lender as Lender requires; and (d) such other related activities
    7.  MAINTENANCE    OF   BORROWER’S    BANK                              and functionalities Lender deems reasonably necessary to
    ACCOUNT; DUTY TO COLLECT RECEIVABLES; DUTY                              provide for the smooth functioning of the activities contemplated
    TO HOLD RECEIVABLES IN TRUST.                                           by this Agreement; (together, the “Processing Trial”). For the
                                                                            avoidance of doubt, any trials or tests of ACH payment
    A. Borrower agrees to maintain funds in the Designated Checking         transactions pursuant to this paragraph will be for a nominal
    Account in amounts that are sufficient to enable the processing         amount (and in any case not more than $50), and will be refunded
    of any payment that Borrower is obligated to pay Lender pursuant        to Borrower in full or deducted from the Collection Amount (in
    to this Agreement. Borrower shall keep the Designated Checking          either case, at Lender’s sole discretion). Lender will make a
    Account open until the Principal Outstanding, the Interest              determination as to whether to issue an Advance to Borrower
    Outstanding, and any and all other amounts owed hereunder have          promptly after the commencement of the Processing Trial.
    been paid to Lender in full and no further Advances are to be           Nothing herein will create an obligation on Lender’s behalf to
    made hereunder.                                                         issue the Advance to Borrower, and Lender expressly reserves
                                                                            the right to terminate the Agreement if Lender determines in
    B. Borrower further agrees to collect all Receivables diligently        Lender’s absolute discretion that the Processing Trial has been
    and promptly in accordance with applicable law, to diligently and       unsuccessful, in which case, this Agreement will automatically
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                                                                                    19:00:45
                                                                                         #: 37 Desc
                                         Main Document      Page 39 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                  AGREEMENT

    terminate and Lender will promptly repay to Borrower any funds       No further collections or ACH payments will be taken after
    received by Lender from Borrower in connection with the              Obligations are paid in full. Borrower acknowledges and agrees
    Processing Trial.                                                    that should Lender fail to receive any portion of the foregoing
                                                                         payment amount on any Scheduled Payment Date, the Lender is
    9. ADVANCE REQUESTS. The Borrower may request an                     authorized, but not required, to initiate ACH debit entries to the
    Advance (“Advance Request”) by (i) accessing the Online              Designated Checking Account on any subsequent business day
    Account and completing the steps delineated therein for the          until such payment amount and any and all other amounts owed
    online submission of an Advance Request or (ii) using any other      hereunder, in each case as set forth in the Lender’s books and
    method that Lender may in its sole and absolute discretion make      records are paid in full.
    available to Borrower from time to time. Following Lender’s
    approval of an Advance Request, Lender will make an Advance          C. Borrower has the right to prepay all Obligations at any time
    to Borrower by disbursing the related proceeds by making an          without penalty.
    ACH credit or wire transfer to the Designated Checking Account.
    Borrower expressly acknowledges that, due to transaction             12. PROMISE TO PAY. Borrower agrees to make to Lender,
    processing, proceeds from any Advance disbursement may take          and authorizes Lender to collect, each of the payments (i.e.,
    up to two (2) business days following Lender’s approval of the       debits) contemplated by Section 11 in the manner contemplated
    related Advance Request to be actually received by the Borrower.     thereby and as provided in the accompanying Authorization
                                                                         Agreement for Direct Deposits (ACH Credits) and Direct
    10. CONDITIONS OF WILLINGNESS TO CONSIDER                            Payments (ACH Debits). For the avoidance of doubt, Borrower
    LENDING. Lender may decide not to approve an Advance                 agrees to pay Lender the balance of all Obligations in accordance
    Request or suspend Borrower’s ability to make an Advance             with the terms of this Agreement.
    Request if on the date of such Advance Request, (i) Borrower’s
    representations and warranties set forth in this Agreement are       13. ALTERNATIVE PAYMENT METHODS. If Borrower
    untrue or incorrect on the date of such Advance Request and/or       knows that for any reason Lender will be unable originate a debit
    an earlier date contemplated by such representation or warranty;     or debits from the Designated Checking Account to provide for
    (ii) an event has occurred that constitutes an Event of Default      the payment each day of the Collection Amount, the Borrower
    hereunder or which, with notice or the passage of time or both,      shall make expedient efforts (and in no event more than 24 hours
    would constitute an Event of Default hereunder, (iii) the amount     late) to transfer funds to Lender via wire transfer, automatic
    of the Advance being requested by Borrower pursuant to such          transfer, or via another online service provided by Lender from
    Advance Request exceeds the Available Advance Amount.                an account at an institution offering such service in U.S. Dollars.

    11. INTEREST ON ADVANCES; DEBIT SCHEDULE;                            14. APPLICATION OF PAYMENTS. Subject to applicable
    RIGHT TO PREPAYMENT.                                                 law, Lender reserves the right to allocate and apply payments
                                                                         between principal and interest owed hereunder in any manner
    A. Advances shall accrue interest daily in an amount equal to the    Lender chooses in Lender’s sole discretion; it being understood
    Daily Interest Charge and shall be payable in arrears on each        that the Lender will generally allocate and apply payments in the
    Scheduled Payment Date. Interest payable shall be computed on        following sequential order: (i) Interest Outstanding; and (iii) the
    the basis of a 360-day year, 30-day month.                           Principal Outstanding.

    B. Principal and interest on the Advances and other amounts          15.       POSTDATED             CHECKS,           RESTRICTED
    owed hereunder shall be regularly paid by the Borrower as set        ENDORSEMENT CHECKS AND OTHER DISPUTED OR
    forth below (the “Debit Schedule”). Borrower covenants and           QUALIFIED PAYMENTS. Lender can accept late, postdated
    agrees that Borrower will cause all Receivables to be paid into      or partial payments without losing any of Lender’s rights under
    the Designated Checking Account. Borrower hereby authorizes          this Agreement (a postdated check is a check dated later than the
    Lender to originate a debit or debits from the Designated            day it was actually presented for payment). Lender is under no
    Checking Account to provide for the payment each day of the          obligation to hold a postdated check and Lender reserves the right
    Collection Amount, which is determined each day based on the         to process every item presented as if dated the same date received
    Collection Percentage. Borrower will not change the Card             by Lender or Lender’s check processor. Borrower agrees not to
    Processor or Ecommerce Platform without Lender’s prior written       send Lender partial payments marked “paid in full,” “without
    consent. Each day Obligations remain outstanding, Lender will        recourse,” or similar language. If Borrower sends such a
    calculate the Collection Amount to which Lender is entitled          payment, Lender may accept it without losing any of Lender’s
    under this Agreement, based on the agreed Collection Percentage      rights under this Agreement and Borrower is estopped from
    and the previous day’s total daily sales as recorded in either the   asserting otherwise.
    Card Processor account or Ecommerce Platform account, as
    applicable. ACH payments will be initiated for each Collection       16. RIGHT TO PAY TOTAL OBLIGATIONS AT ANY
    Amount. ACH payments can only be initiated on business days.         TIME. Borrower may pay off Borrower’s Line of Credit in
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                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 38 Desc
                                         Main Document      Page 40 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                     AGREEMENT

    whole on any business day by paying Lender the sum total of all        Collateral in the case of Receivables, other accounts, chattel
    Obligations owed hereunder.                                            paper and general intangibles) shall be located at Borrower's
                                                                           address as shown in the application, (ii) except for inventory sold
    17. SECURITY INTEREST; PROTECTING THE                                  or accounts collected in the ordinary course of Borrower's
    SECURITY INTEREST; LOCATION OF COLLATERAL;                             business, Borrower shall not sell, offer to sell, or otherwise
    TRANSACTIONS INVOLVING COLLATERAL.                                     transfer or dispose of the Collateral, (iii) no one else has any
                                                                           interest in or claim against the Collateral that Borrower has not
    A. Borrower hereby grants to Lender, the secured party                 already told Lender about, (iv) Borrower shall not pledge,
    hereunder, a continuing security interest in and to any and all        mortgage, encumber or otherwise permit the Collateral to be
    “Collateral” as described below to secure payment and                  subject to any lien, security interest, encumbrance or charge,
    performance of all Obligations of Borrower to Lender hereunder         other than the security interest provided for in this Agreement and
    and also any and all other debts, liabilities and obligations of       (v) Borrower shall not sell, offer to sell, or otherwise transfer or
    Borrower to Lender of every kind and description whether owing         dispose of the Collateral for less than the fair market value
    under this Agreement or any other agreement, direct or indirect,       thereof. Borrower shall defend Lender’s rights in the Collateral
    absolute or contingent, primary or secondary, due or to become         against the claims and demands of all other persons. All proceeds
    due, now existing or hereafter arising, whether or not                 from any unauthorized disposition of the Collateral shall be held
    contemplated by the parties at the time of the granting of this        in trust for Lender, shall not be co-mingled with any other funds
    security interest, regardless of how they arise or by what             and shall immediately be delivered to Lender. This requirement,
    agreement or instrument they may be evidenced or whether               however, does not constitute consent by Lender to any such
    evidenced by any agreement or instrument, and includes                 disposition.
    obligations to perform acts and refrain from taking action as well
    as obligations to pay money including, without limitation,             18. TAXES, ASSESSMENTS AND LIENS. Borrower will
    Interest Outstanding. The Collateral includes the following            complete and file all necessary federal, state and local tax returns
    property that Borrower now owns or shall acquire or create             and will pay when due all taxes, assessments, levies and liens
    immediately upon the acquisition or creation thereof: (i) all          upon the Collateral and provide evidence of such payments to
    Receivables including but not limited to any amounts owing to          Lender upon request.
    Borrower now or in the future; and (ii) all other tangible and
    intangible personal property, including, but not limited to (a) cash   19. INSURANCE. Borrower shall procure and maintain
    and      cash     equivalents,    (b) inventory,    (c) equipment,     insurance with insurance companies that the Borrower believes
    (d) investment property, including certificated and uncertificated     are financially sound and reputable, in such amounts with such
    securities, securities accounts, security entitlements, commodity      deductibles and covering such risks as the Borrower believes in
    contracts and commodity accounts, (e) instruments, including           good faith are customarily carried by companies engaged in
    promissory notes (f) chattel paper, including tangible chattel         similar businesses. Borrower shall promptly notify Lender of any
    paper and electronic chattel paper, (g) documents, (h) letter of       loss of or damage to the Collateral. Borrower shall add Lender
    credit rights, (i) accounts, including health-care insurance           to any certificates of insurance in the ordinary course of business
    receivables, (j) deposit accounts, (k) commercial tort claims,         while Obligations remain outstanding.
    (l) general intangibles, including payment intangibles and
    software and (m) as-extracted collateral as such terms may from        20. REPAIRS AND MAINTENANCE. As applicable and
    time to time be defined in the Uniform Commercial Code. The            specific to the type of Collateral at issue, Borrower agrees to keep
    security interest Borrower grants includes all accessions,             and maintain, and to cause others to keep and maintain, the
    attachments, accessories, parts, supplies and replacements for the     Collateral in good order, repair and condition at all times while
    Collateral, all products, proceeds and collections thereof and all     this Agreement remains in effect. Borrower further agrees to pay
    records and data relating thereto. Lender disclaims any security       when due all claims for work done on, or services rendered or
    interest in household goods in which Lender is forbidden by law        material furnished in connection with the Collateral so that no
    from taking a security interest.                                       lien or encumbrance (other than a lien or encumbrance by the
                                                                           Lender) may ever attach to or be filed against the Collateral.
    B. Borrower agrees that Lender may file any financing statement,
    lien entry form or other document Lender requires in order to          21. USE OF TESTIMONIALS. Subject to Borrower’s consent,
    perfect, amend or continue Lender’s security interest in the           Lender may obtain testimonials, including testimonials on why
    Collateral and Borrower agrees to cooperate with Lender as may         Borrower needed the Line of Credit and how the Line of Credit
    be necessary to accomplish said filing and to do whatever Lender       has helped Borrower. Any photograph and testimonial will
    deems necessary to protect Lender’s security interest in the           become and remain the sole property of Lender. Borrower grants
    Collateral.                                                            Lender the irrevocable and permanent right to display and share
                                                                           any photograph and testimonial in all forms and media, including
    C. Unless Lender has agreed otherwise in writing, Borrower             composite and modified representations, for all purposes,
    agrees and warrants that (i) all Collateral (or records of the         including but not limited to any trade or commercial purpose,
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                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 39 Desc
                                         Main Document      Page 41 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                      AGREEMENT

    with any Lender employees and agents and with the general              prospects or the value of the Collateral; (ix) Borrower has
    public. Lender may, but is not required to, use the name of any        disclosed in writing to Lender all of its Third-Party Financing
    Borrower as a credit in connection with any photograph and             obligations; (x) there is no action, suit, proceeding or
    testimonial. Borrower and each signatory of Borrower waive the         investigation pending or, to Borrower’s knowledge, threatened
    right to inspect or approve versions of any photograph or              against or affecting it or any of the Collateral before or by any
    testimonial or the written copy or other media that may be used        court or other governmental authority which, if determined
    in connection with same. Borrower and each signatory of                adversely to it, would have a material adverse effect on its
    Borrower release Lender from any claims that may arise                 financial condition, business or prospects or the value of the
    regarding the use of any photograph or testimonial, including any      Collateral; (xi) Borrower does not intend to file for reorganization
    claims of defamation, invasion of privacy or infringement of           or liquidation under the bankruptcy or reorganization laws of any
    moral rights, rights of publicity or copyright.                        jurisdiction within 6 months of the date hereof; and (xii)
                                                                           Borrower is not presently insolvent within the meaning of the
    22.      BORROWER’S              REPRESENTATIONS               AND     Uniform Commercial Code as well as the United States
    WARRANTIES. Borrower represents and warrants that: (i)                 Bankruptcy Code.
    Borrower is not a sole proprietorship; (ii) Borrower will comply
    with all laws, statutes, regulations and ordinances pertaining to      23. BORROWER’S OPERATING COVENANTS. Borrower
    the conduct of Borrower’s business and promises to hold Lender         covenants, and without limitation to any other representations,
    harmless from any damages, liabilities, costs, expenses                warranties or covenants in this Agreement: (i) to maintain
    (including attorneys’ fees) or other harm arising out of any           existing lines of business; (ii) to not incur Third-Party Financing
    violation thereof; (iii) Borrower’s principal executive office and     obligations without the prior written consent of Lender; (iii) to not
    the office where Borrower keeps its records concerning its             divert any Receivables away from the Designated Checking
    accounts, contract rights and other property, is that shown in the     Account to any other account held by any institution, without the
    application; (iv) Borrower is duly organized, licensed, validly        prior written consent of Lender; (iv) to not close the Designated
    existing and in good standing under the laws of its state of           Checking Account nor deny Lender access thereto, or instruct or,
    formation and shall hereafter remain in good standing in that          except to the extent prohibited by applicable law, acquiesce to,
    state, and is duly qualified, licensed and in good standing in every   any bank or other person closing such Designated Checking
    other state in which it is doing business, and shall hereafter         Account or denying Lender access thereto; (v) to not enter into
    remain duly qualified, licensed and in good standing in every          any deposit account control agreement related to the Designated
    other state in which it is doing business, and shall hereafter         Checking Account; and (vi) to not take any steps to avoid, delay,
    remain duly qualified, licensed and in good standing in every          or circumvent Borrower’s obligation to make Receivables
    other state in which the failure to qualify or become licensed         promptly available to Lender in the Designated Checking
    could have a material adverse effect on the financial condition,       Account at any time, including without limitation by: (a) taking
    business or operations of Borrower; (v) the true and correct legal     any action that might discourage Borrower’s customers’ use of
    name of the Borrower is set forth in the application; (vi) the         credit cards, debit cards or other payment cards, and Borrower
    execution, delivery and performance of this Agreement, and any         will not permit any event to occur that may have an adverse effect
    other document executed in connection herewith, are within             on the use, acceptance or authorization of credit cards, debit
    Borrower’s powers, have been duly authorized, are not in               cards, or other payment cards; (b) changing or adding any credit
    contravention of law or the terms of Borrower’s charter, by-laws       card processors or e-commerce platforms without Lender’s prior
    or other constating documents, or of any indenture, agreement or       written consent; (c) amending or terminating the processing
    undertaking to which Borrower is a party; (vii) all constating         agreement with the Card Processor without Lender’s prior
    documents and all amendments thereto of Borrower have been             written consent; (d) not promptly transferring Receivables into
    duly filed and are in proper order and any capital stock issued by     the Designated Checking Account from any third-party account
    Borrower and outstanding was and is properly issued and all            hosting said Receivables, to which Borrower has transfer access,
    books and records of Borrower are accurate and up to date and          within 14 days of receipt in such third-party account, or within
    will be so maintained; (viii) Borrower (a) is subject to no charter,   the earliest-allowed, but later period of time if and only if
    corporate or other legal restriction, or any judgment, award,          mandated by such third-party’s account-transfer rules; or (e)
    decree, order, governmental rule or regulation or contractual          putting a stop order or blocking any ACH or other remittance of
    restriction that could have a material adverse effect on its           Receivables to Borrower, or taking any action that results in a
    financial condition, business or prospects, and (b) is in              stop order or block.
    compliance with its charter, by-laws, and other constating
    documents, all contractual requirements by which it may be             24. INTEREST EXCEEDING PERMITTED LIMIT. If the
    bound and all applicable laws, rules and regulations other than        Line of Credit is subject to a law that sets maximum charges, and
    laws, rules or regulations the validity or applicability of which it   that law is finally interpreted so that the interest collected or to be
    is contesting in good faith or provisions of any of the foregoing      collected in connection with this Agreement exceed the permitted
    the failure to comply with which cannot reasonably be expected         limits, then (i) any such charge will be reduced by the amount
    to materially adversely affect its financial condition, business or    necessary to reduce the charge to the permitted limit and (ii) if
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                                                                  Entered8 12/30/24
                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 40 Desc
                                         Main Document      Page 42 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                      AGREEMENT

    required by applicable law, any sums already collected from            would constitute an Event of Default hereunder, to promptly
    Borrower that exceed the permitted limits will be refunded or          provide notice thereof to Lender in writing.
    credited to Borrower.
                                                                           28. TELEPHONE COMMUNICATIONS. Borrower and
    25. FINANCIAL INFORMATION AND REEVALUATION                             hereby expressly consents to receiving calls and messages,
    OF CREDIT. Borrower authorizes Lender to obtain business               including auto-dialed and pre-recorded message calls and SMS
    and personal credit bureau reports in Borrower’s name at any           messages (including text messages) from Lender, its affiliates,
    time and from time to time for purposes of deciding whether to         marketing partners, agents and others calling at Lender’s request
    approve the requested Line of Credit and any Advances made             or on its behalf, at any telephone numbers that Borrower has
    pursuant hereto or for any update, renewal, extension of credit or     provided or may provide in the future or otherwise in the
    other lawful purpose. Upon Borrower’s request, Lender will             Lender’s possession (including any cellular or mobile telephone
    advise Borrower if Lender obtained a credit report and Lender          numbers). Borrower agrees that such communications may be
    will give Borrower the credit bureau’s name and address.               initiated using an automated telephone dialing system.
    Borrower agrees to submit current financial information, a new
    credit application, or both, in Borrower’s name at any time            29. INDEMNIFICATION. Except for Lender’s gross
    promptly upon Lender’s request. Lender may report Lender’s             negligence or willful misconduct, Borrower will indemnify and
    credit experiences with Borrower to third parties as permitted by      save Lender harmless from all losses, costs, damages, liabilities
    law. Borrower also agrees that Lender may release information          or expenses (including, without limitation, court costs and
    to comply with governmental reporting or legal process that            reasonable attorneys’ fees) that Lender may sustain or incur by
    Lender believes may be required, whether or not such is in fact        reason of enforcing the Obligations, or in the prosecution or
    required, or when necessary or helpful in completing a                 defense of any action or proceeding concerning any matter
    transaction, or when investigating a loss or potential loss.           arising out of or in connection with this Agreement and/or any
    Borrower is hereby notified that a negative credit report reflecting   other documents now or hereafter executed in connection with
    on Borrower’s credit record may be submitted to a credit               this Agreement and/or the Obligations. This indemnity shall
    reporting agency if Borrower fails to fulfill the terms of their       survive the repayment of the Obligations and the termination of
    respective credit obligations hereunder.                               this Agreement.

    26. ATTORNEYS’ FEES AND COLLECTION COSTS. To                           30. MERGERS, CONSOLIDATIONS OR SALES. Borrower
    the extent not prohibited by applicable law, Borrower shall pay        represents and agrees that Borrower will not, without Lender’s
    to Lender on demand any and all expenses, including, but not           written consent: (i) merge or consolidate with or into any other
    limited to, collection costs, all attorneys’ fees and expenses, and    business entity or (ii) enter into any joint venture or partnership
    all other expenses of like or unlike nature which may be expended      with any person, firm or corporation. Notwithstanding the
    by Lender to obtain or enforce payment of Obligations either as        foregoing, no consent shall be required of Lender if, following
    against Borrower or in the prosecution or defense of any action        any such merger, consolidation, sale, joint venture, partnership or
    or concerning any matter arising out of or connected with the          other transaction, (x) the current majority owner of Borrower
    subject matter of this Agreement, the Obligations, or any of           remains the majority owner of Borrower post transaction, and (y)
    Lender’s rights or interests therein or thereto, including, without    any transfer of equity in Borrower to any person following such
    limiting the generality of the foregoing, any counsel fees or          transaction is no more than 40% of all equity outstanding in
    expenses incurred in any bankruptcy or insolvency proceedings,         Borrower.
    and all costs and expenses incurred by Lender in connection with
    the defense, settlement or satisfaction of any action, claim or        31. CHANGE IN LEGAL STATUS. Without Lender’s consent,
    demand asserted against Lender in connection therewith, which          Borrower represents and agrees that Borrower will not (i) change
    amounts shall be considered advances to protect Lender rights          its name, its place of business or, if more than one, chief
    hereunder. To the extent permitted by applicable law, all such         executive office, its mailing address, or organizational
    expenses will become a part of the Obligations and, at Lender’s        identification number if it has one, or (ii) change its type of
    option, will be payable on demand. Such right shall be in addition     organization, jurisdiction of organization or other legal structure.
    to all other rights and remedies to which Lender may be entitled       If Borrower does not have an organizational identification
    upon an Event of Default.                                              number and later obtains one, Borrower shall promptly notify
                                                                           Lender of such organizational identification number.
    27. BORROWER’S REPORTS. Promptly upon Lender’s
    written request, Borrower agrees to provide Lender with such           32. DEFAULT. The occurrence of any one or more of the
    information about the financial condition and operations of            following events (herein, “Events of Default”) shall constitute,
    Borrower, as Lender may, from time to time, reasonably request.        without notice or demand, a default under this Agreement and all
    Borrower also agrees promptly upon becoming aware of any               other agreements between Lender and Borrower and instruments and
    Event of Default, or the occurrence or existence of an event           papers given Lender by Borrower, whether such agreements,
    which, with the passage of time or the giving of notice or both,       instruments, or papers now exist or hereafter arise: (i) Borrower fails
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                                                                  Entered9 12/30/24
                                                                           of 16. PageID
                                                                                    19:00:45
                                                                                         #: 41 Desc
                                         Main Document      Page 43 of GROWTH
                                                                       73           LINE OF CREDIT
                                                                                                                           AGREEMENT

    to comply with the Debit Schedule in any respect; (ii) Borrower fails     agreement between Lender and Borrower is impaired or there shall
    to comply with, promptly, punctually and faithfully perform or            occur any material adverse change in the business or financial
    observe any other term, condition or promise within this Agreement,       condition of Borrower (such event specifically includes, but is not
    including but not limited to providing Access Details and similar         limited to, taking additional financing from a credit card advance,
    reports and other information Lender requires; (iii) the                  cash advance company, or an additional working capital loan
    determination by Lender that any representation or warranty               without the prior written consent of Lender); (xix) the entry of any
    heretofore, now or hereafter made by Borrower to Lender, in any           court order that enjoins, restrains or in any way prevents Borrower
    documents, instrument, agreement, application or paper was not true       from conducting all or any part of its business affairs in the ordinary
    or accurate when given; (iv) the occurrence of any event such that        course of business; (xx) the occurrence of any uninsured loss, theft,
    any indebtedness of Borrower from any lender other than Lender            damage or destruction to the Collateral; (xxi) any act by or against,
    could be accelerated, notwithstanding that such acceleration has not      or relating to Borrower or the Collateral pursuant to which any
    taken place; (v) the occurrence of any event that would cause a lien      creditor of Borrower seeks to reclaim or repossess or reclaims or
    creditor, as that term is defined in Section 9−102 of the Uniform         repossesses all or a portion of the Collateral; (xxii) the termination of
    Commercial Code, (other than Lender) to take priority over the Loan       existence, dissolution or liquidation of Borrower or the ceasing to
    made by Lender; (vi) a filing against or relating to Borrower (unless     carry on actively any substantial part of Borrower’s current business;
    consented to in writing by Lender) of (a) a federal tax lien in favor     (xxiii) this Agreement shall, at any time after its execution and
    of the United States of America or any political subdivision of the       delivery and for any reason, cease to be in full force and effect or
    United States of America, or (b) a state tax lien in favor of any state   shall be declared null and void, or the validity or enforceability
    of the United States of America or any political subdivision of any       hereof shall be contested by Borrower or Borrower denies it has any
    such state; (vii) the occurrence of any event of default under any        further liability or obligation hereunder; (xxiv) any person signing a
    other agreement between Lender and Borrower or instrument or              support agreement in favor of Lender shall repudiate, purport to
    paper given Lender by Borrower, whether such agreement,                   revoke or fail to perform his or her obligations under his support
    instrument, or paper now exists or hereafter arises (notwithstanding      agreement in favor of Lender; (xxv) any material change occurs in
    that Lender may not have exercised its rights upon default under any      Borrower’s ownership or organizational structure (acknowledging
    such other agreement, instrument or paper); (viii) any act by, against,   that any change in ownership will be deemed material when
    or relating to Borrower, or its property or the Collateral, which act     ownership is closely held), provided, however, that any such change
    constitutes the application for, consent to, or sufferance of the         in compliance with paragraph 30 hereof shall not be deemed
    appointment of a receiver, trustee or other person, pursuant to court     “material” for the purposes of this section xxv; (xxvi) if Borrower is
    action or otherwise, over all, or any part of Borrower’s property; (ix)   a sole proprietorship, the owner dies; if Borrower is a trust, a trustor
    the granting of any trust mortgage or execution of an assignment for      dies; if Borrower is a partnership, any general or managing partner
    the benefit of the creditors of Borrower, or the occurrence of any        dies; if Borrower is a corporation, any principal officer or 10% or
    other voluntary or involuntary liquidation or extension of debt           greater shareholder dies; if Borrower is a limited liability company,
    agreement for Borrower; (x) the failure by Borrower to generally pay      any managing member dies; if Borrower is any other form of
    the debts of Borrower as they mature; (xi) adjudication of bankruptcy     business entity, any person(s) directly or indirectly controlling 10%
    or insolvency relative to Borrower; (xii) the entry of an order for       or more of the ownership interests of such entity dies.
    relief or similar order with respect to Borrower in any proceeding
    pursuant to Title 11 of the United States Code entitled “Bankruptcy”      33. RIGHTS AND REMEDIES UPON DEFAULT. Subject to
    (the “Bankruptcy Code”) or any other federal bankruptcy law; (xiii)       applicable law, if an Event of Default occurs under this
    the filing of any complaint, application or petition by or against        Agreement, at any time thereafter, Lender may exercise any one
    Borrower initiating any matter in which Borrower is or may be             or more of the following rights and remedies:
    granted any relief from the debts of Borrower pursuant to the
    Bankruptcy Code or any other insolvency statute or procedure; (xiv)       A. Refrain from Making Advances and Terminate Borrower’s
    the calling or sufferance of a meeting of creditors of Borrower; (xv)         Ability to Make Advance Requests: Lender may terminate
    the meeting by Borrower with a formal or informal creditor’s                  the Line of Credit, refrain from making Advances and/or
    committee; (xvi) the offering by or entering into by Borrower of any          terminate Borrower’s ability to make Advance Requests
    composition, extension or any other arrangement seeking relief or             hereunder.
    extension for the debts of Borrower, or the initiation of any other
    judicial or non-judicial proceeding or agreement by, against or           B. Debit Amounts Due From Borrower’s Accounts: Lender
    including Borrower that seeks or intends to accomplish a                     may debit from Borrower’s Designated Checking Account
    reorganization or arrangement with creditors; (xvii) the entry of any        any and all amounts to bring current all Obligations.
    judgment against Borrower, which judgment is not satisfied or             C. Accelerate Indebtedness: Lender may declare any and all
    appealed from (with execution or similar process stayed) within 15
                                                                                 Obligations immediately due and payable, without notice of
    days of its entry; (xviii) the occurrence of any event or circumstance
                                                                                 any kind to Borrower.
    with respect to Borrower such that Lender shall believe in good faith
    that the prospect of payment of all or any part of the Obligations or     D. Assemble Collateral: Lender may require Borrower to deliver
    the performance by Borrower under this Agreement or any other                to Lender all or any portion of the Collateral and any and all
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                                                                             of 16. PageID
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                                                                                           #: 42Desc
                                         Main Document       Page 44 of GROWTH
                                                                        73            LINE OF CREDIT
                                                                                                                    AGREEMENT

         certificates of title and other documents relating to the              through a receiver, may collect the payments, rents, income,
         Collateral. Lender may require Borrower to assemble the                and revenues from the Collateral. Lender may at any time in
         Collateral and make it available to Lender at a place to be            Lender’s discretion transfer any Collateral into Lender’s
         designated by Lender. Lender also shall have full power to             own name or that of Lender’s nominee and receive the
         enter, provided Lender does so without a breach of the peace           payments, rents, income and revenues therefrom and hold
         or a trespass, upon the property of Borrower to take possession        the same as security for the Obligations or apply it to
         of and remove the Collateral. If the Collateral contains other         payment of the Obligations in such order of preference as
         goods not covered by this Agreement at the time of                     Lender may determine. Insofar as the Collateral consists of
         repossession, Borrower agrees Lender may take such other               accounts, general intangibles, insurance policies,
         goods, provided that Lender makes reasonable efforts to return         instruments, chattel paper, choses in action, or similar
         them to Borrower after repossession.                                   property, Lender may demand, collect, receipt for, settle,
                                                                                compromise, adjust, sue for, foreclose or realize on the
    E. Sell the Collateral: Lender shall have full power to sell, lease,
                                                                                Collateral as Lender may determine, whether or not any
       transfer, or otherwise deal with the Collateral or proceeds
                                                                                amount included within the Obligations is then due. For
       thereof in Lender's own name or that of Borrower. Lender
                                                                                these purposes, Lender may, on behalf of and in the name of
       may sell the Collateral at public auction or private sale.
                                                                                Borrower, receive, open and dispose of mail addressed to
       Unless the Collateral threatens to decline speedily in value
                                                                                Borrower; change any address to which mail and payments
       or is of a type customarily sold on a recognized market,
                                                                                are to be sent; and endorse notes, checks, drafts, money
       Lender will give Borrower other persons as required by law
                                                                                orders, documents of title, instruments and items pertaining
       (if any), reasonable notice of the time and place of any public
                                                                                to payment, shipment or storage of any Collateral. To
       sale, or the time after which any private sale or any other
                                                                                facilitate collections, Lender may notify account debtors and
       disposition of the Collateral is to be made. However, no
                                                                                obligors on any Collateral to make payments directly to
       notice need be provided to any person who, after an Event of
                                                                                Lender.
       Default occurs, enters into and authenticates an agreement
       waiving that person’s right to notification of sale. The            H. Obtain Deficiency: If Lender chooses to sell any or all of the
       requirements of reasonable notice shall be met if such notice          Collateral, Lender may obtain a judgment against Borrower
       is given at least 10 days before the time of the sale or               for any deficiency remaining on the Obligations due to
       disposition. All reasonable and customary expenses relating            Lender after application of all amounts received from the
       to the disposition of the Collateral, including without                exercise of the rights provided in this Agreement. Borrower
       limitation the expenses of retaking, holding, insuring,                shall be liable for a deficiency even if the transaction
       preparing for sale and selling the Collateral, shall become a          described in this subsection is a sale of accounts or chattel
       part of the Obligations secured by this Agreement. To the              paper.
       extent permitted by applicable law, all such expenses will
                                                                           I.   Other Rights and Remedies: Lender shall have all the rights
       become a part of the Obligations and, at Lender’s option,
                                                                                and remedies of a secured creditor under the provisions of
       will: (i) be payable on demand; (ii) be added to the balance
                                                                                the Uniform Commercial Code, as may be amended from
       of the Loan and be apportioned among and be payable with
                                                                                time to time. In addition, Lender shall have and may exercise
       any installment payments to become due during either (a) the
                                                                                any or all other rights and remedies it may have available at
       term of any applicable insurance policy or (b) the remaining
                                                                                law, in equity or otherwise.
       term of the Loan; or (iii) be treated as a balloon payment that
       will be due and payable at the Loan’s maturity.                     J.   Election of Remedies: Except as may be prohibited by
                                                                                applicable law, all of Lender’s rights and remedies, whether
    F.   Appoint Receiver: Lender shall have the right to have a
                                                                                evidenced by this Agreement, any related documents, or by
         receiver appointed to take possession of all or any part of the
                                                                                any other writing, shall be cumulative and may be exercised
         Collateral, with the power to protect and preserve the
                                                                                singularly or concurrently. Election by Lender to pursue any
         Collateral, to operate the Collateral preceding foreclosure or
                                                                                remedy shall not exclude pursuit of any other remedy, and
         sale, and to collect the rents from the Collateral and apply
                                                                                an election to make expenditures or to take action to perform
         the proceeds, over and above the cost of the receivership,
                                                                                an obligation of Borrower under the Agreement, after
         against the Obligations. The receiver may serve without
                                                                                Borrower’s failure to perform, shall not affect Lender’s right
         bond if permitted by law. Lender’s right to the appointment
                                                                                to declare a default and exercise its remedies.
         of a receiver shall exist whether or not the apparent value of
         the Collateral exceeds the Obligations by a substantial           34. CONSENT TO JURISDICTION AND VENUE. Subject to
         amount. Employment by Lender shall not disqualify a person        Section 35 below, Borrower and Lender agree that any action or
         from serving as a receiver.                                       proceeding to enforce or arising out of this Agreement may be
                                                                           brought in any court of the state of New York or in the United
    G. Collect Revenues, Apply Accounts: Lender, either itself or          States District Court for the Southern District of New York, and
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                                                                             of 16. PageID
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                                                                                           #: 43Desc
                                         Main Document       Page 45 of GROWTH
                                                                        73            LINE OF CREDIT
                                                                                                                     AGREEMENT

    Borrower waives personal service of process. Borrower and              arbitration shall be conducted by a single arbitrator. The
    Lender agree that venue is proper in such courts.                      arbitrator shall be chosen in accordance with the procedures of
                                                                           JAMS and shall base the award on applicable law. The arbitration
    35. ARBITRATION AND CLASS ACTION WAIVER. THE                           hearing shall occur in the federal judicial district where Borrower
    PARTIES AGREE THAT AT THE ELECTION OF ANY                              is located, and may be conducted on the basis of documents only
    PARTY, ALL CLAIMS BETWEEN BORROWER AND                                 or through a telephone or in-person hearing. The arbitrator’s
    LENDER    SHALL   BE   RESOLVED    THROUGH                             decisions are final and binding, are as enforceable as any court
    MANDATORY BINDING INDIVIDUAL ARBITRATION                               order, and are subject to very limited review by a court as set forth
    PURSUANT TO THIS SECTION.                                              in the Federal Arbitration Act. Judgment on the award may be
                                                                           entered in any court having jurisdiction, subject to Section 34
    A. Arbitration procedures are generally simpler than the rules that    above.
    apply in court, and discovery is more limited. Other rights that
    Borrower or Lender would have in court may also not be                 D. The parties agree that the costs of the arbitration (including
    available in arbitration. For example, under this arbitration          the arbitrator’s fees) shall be divided equally between them,
    agreement, Borrower or Lender will not have the right to (i) have      except that Lender will consider in good faith a request by
    a court or jury decide the claim being arbitrated, (ii) engage in      Borrower to pay the costs of arbitration.
    pre-arbitration discovery to the same extent that Borrower or
    Lender could in court, (iii) as set forth below, participate as a      E. EACH PARTY MAY PURSUE ARBITRATION SOLELY
    representative or member of any class or of claimants in a class       IN AN INDIVIDUAL CAPACITY, AND NOT AS A
    action, in court or in arbitration, relating to any claim subject to   REPRESENTATIVE OR CLASS MEMBER IN ANY
    arbitration, or (iv) join or consolidate claims other than             PURPORTED      CLASS     OR     REPRESENTATIVE
    Borrower’s or Lender’s own claims. Any arbitration award and           PROCEEDING.      THE ARBITRATOR MAY NOT
    any judgment confirming it will apply only to a specific Claim         CONSOLIDATE MORE THAN ONE PERSON’S OR
    and cannot be used in any other case except to enforce the award.      ENTITY’S CLAIMS, AND MAY NOT OTHERWISE
                                                                           PRESIDE OVER ANY FORM OF A REPRESENTATIVE OR
    B. The term “Claims” is to be given the broadest possible              CLASS PROCEEDING.      BORROWER AND LENDER
    meaning, and includes without limitation Claims arising from or        WAIVE ANY RIGHT TO ASSERT ANY CLAIMS AGAINST
    relating to (i) this Agreement, including without limitation, the      ANY OTHER PARTY AS A REPRESENTATIVE OR
    terms, construction, interpretation, performance, termination,         MEMBER IN ANY CLASS OR REPRESENTATIVE ACTION,
    breach, or enforceability of this Agreement, (ii) any transactions     EXCEPT WHERE SUCH WAIVER IS PROHIBITED BY LAW
    effected pursuant to this Agreement, (iii) terms of or change or       AGAINST PUBLIC POLICY. TO THE EXTENT ANY
    addition of terms to this Agreement, (iv) collection or                PARTY IS PERMITTED BY LAW OR COURT OF LAW TO
    enforcement of any obligation arising from this Agreement, (v)         PROCEED WITH A CLASS OR REPRESENTATIVE
    advertisements, promotions, or oral or written statements relating     ACTION AGAINST ANY OTHER, THE PARTIES HEREBY
    to this Agreement or any transactions between us pursuant to this      AGREE THAT: (1) THE PREVAILING PARTY SHALL NOT
    Agreement, (vi) Claims between Borrower and and Lender or              BE ENTITLED TO RECOVER ATTORNEYS’ FEES OR
    Lender’s parent corporations, wholly or majority owned                 COSTS ASSOCIATED WITH PURSUING THE CLASS OR
    subsidiaries, affiliates, predecessors, successors, assigns, agents,   REPRESENTATIVE ACTION (NOT WITHSTANDING ANY
    independent contractors, employees, officers, directors or             OTHER PROVISION IN THIS AGREEMENT); AND (2) THE
    representatives arising from any transaction between us pursuant       PARTY WHO INITIATES OR PARTICIPATES AS A
    to this Agreement, and (vii) Claims regarding the validity,            MEMBER OF THE CLASS WILL NOT SUBMIT A CLAIM
    enforceability, or scope of this Arbitration section or this           OR OTHERWISE PARTICIPATE IN ANY RECOVERY
    Agreement, including but not limited to whether a given claim or       SECURED THROUGH THE CLASS OR REPRESENTATIVE
    dispute is subject to arbitration.                                     ACTION.

    C. The parties agree that any Claim against Borrower or Lender         F. If this provision is deemed by a court or arbitrator to be
    shall be, at the election of any party, resolved by mandatory          unenforceable only as to some Claims asserted by a party, then
    binding arbitration within a reasonable time period not to exceed      the parties agree in advance that all proceedings relating to the
    one-hundred-and-eighty (180) days. The parties agree that the          Claims against which this provision is unenforceable should be
    arbitration shall be administered by JAMS and the arbitration          stayed and not proceed pending the completion of the arbitration
    shall be conducted in accordance with the JAMS Streamlined             proceeding on all remaining claims.
    Arbitration Rules & Procedures except as otherwise agreed in this
    Agreement; if JAMS is unavailable to administer the arbitration,       G. If Borrower or Lender files a Claim in court, such action is
    then the arbitration shall be administered by the American             not deemed to be a waiver of the right to compel arbitration of
    Arbitration Association in accordance with its procedures or any       any counterclaims, cross-claims, or separate claims that may be
    other mutually agreeable arbitrator. The parties agree that the        asserted against it. In such a case, upon the election of any party,
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                                                                             of 16. PageID
                                                                                     19:00:45
                                                                                           #: 44Desc
                                         Main Document       Page 46 of GROWTH
                                                                        73            LINE OF CREDIT
                                                                                                                       AGREEMENT

    the entire dispute shall be resolved in arbitration pursuant to the     To the extent that Lender assigns its rights and obligations
    provisions of this section.                                             hereunder to another party, Lender thereafter shall be released
                                                                            from such assigned obligations to Borrower and such assignment
    H. This arbitration section is governed by the Federal Arbitration      shall affect a novation between Borrower and such other party.
    Act, 9 U.S.C. §§ 1-16, other applicable federal law, and, to the        For the avoidance of doubt, Borrower and Lender and their
    extent it is applicable, by New York law.                               successors or assigns retain the right to compel arbitration under
                                                                            Section 35 even if they assign any rights under this Agreement to
    36. JURY TRIAL WAIVER. To the extent not prohibited by                  another individual or entity.
    applicable law, Borrower and Lender waive their right to a trial
    by jury of any claim or cause of action based upon, arising out of      40. INTERPRETATION. Paragraph and section headings used
    or related to the Agreement and all other documentation                 in this Agreement are for convenience only, and shall not affect
    evidencing the Obligations, in any legal action or proceeding.          the construction of this Agreement. Neither this Agreement nor
    Subject to Section 35, any such claim or cause of action shall be       any uncertainty or ambiguity herein shall be construed or
    tried by court sitting without a jury.                                  resolved against Lender or Borrower, whether under any rule of
                                                                            construction or otherwise. On the contrary, this Agreement has
    37. NO WAIVER BY LENDER. No delay or omission on the                    been reviewed by all parties and shall be construed and
    part of Lender in exercising any rights under this Agreement or         interpreted according to the ordinary meaning of the words used
    applicable law shall operate as a waiver of such right or any other     so as to fairly accomplish the purposes and intentions of all
    right. Waiver on any one occasion shall not be construed as a bar       parties hereto.
    to or waiver of any right or remedy on any future occasion. All
    Lender’s rights and remedies, whether evidenced hereby or by            41. SEVERABILITY. If one or more provisions of this
    any other agreement, instrument or paper, shall be cumulative           Agreement (or the application thereof) is determined invalid,
    and may be exercised singularly or concurrently.                        illegal or unenforceable in any respect in any jurisdiction, the
                                                                            same shall not invalidate or render illegal or unenforceable such
    38. TERMINATION. This Agreement shall be effective as of                provision (or its application) in any other jurisdiction or any other
    the date first written above and shall continue in full force and       provision of this Agreement (or its application).
    effect until the first anniversary thereof, unless earlier
    terminated upon an Event of Default. This Agreement shall be            42. NOTICES. Except as otherwise provided in this Agreement,
    automatically extended for one-year terms on each anniversary           notice under this Agreement must be in writing. Notices will be
    of the effective date (each such anniversary, an “Anniversary           deemed given when deposited in the U.S. mail, postage prepaid,
    Date”) unless Lender or Borrower gives the other party written          first class mail; when delivered in person; or when sent by
    notice of termination at least thirty (30) days prior to the end        registered mail; by certified mail; by nationally recognized
    of the applicable Anniversary Date, or until terminated earlier         overnight courier, or when sent by electronic mail. Notice to
    upon and event of Default. Notwithstanding the foregoing, (i)           Borrower may also be posted to Borrower’s Online Account or
    this Agreement shall not terminate until Borrower has paid in full      sent to Borrower’s last known address, or electronic mail address
    all amounts owed pursuant to the Obligations; and (ii) in addition      in Lender’s records for Borrower. Notice to Lender may be sent
    to Lender’s rights and remedies set forth herein, Lender may, at        to: Ampla, LLC, attention: Anthony Santomo, Founder and CEO,
    any time and subject to applicable law, terminate this Agreement        1239 Broadway, 12th Floor, New York, NY 10001.
    and Borrower will nevertheless continue to be obligated to pay
    all amounts owed pursuant to the Obligations.                           43. RECORDKEEPING AND AUDIT REQUIREMENTS.
                                                                            Lender shall have no obligation to maintain any electronic
    39. ASSIGNMENT. This Agreement shall bind and inure to the              records or any documents, schedules, invoices or any other paper
    benefit of the respective successors and assigns of each of the         delivered to Lender by Borrower in connection with this
    parties hereto; provided, however, that Borrower may not assign         Agreement or any other agreement other than as required by law.
    this Agreement or any rights or duties hereunder without                Borrower will at all times keep accurate and complete records of
    Lender’s prior written consent and any prohibited assignment            the Collateral (including without limitation the Receivables). At
    shall be absolutely null and void. No consent to an assignment by       Lender’s request, Borrower shall deliver to Lender: (i) schedules
    Lender shall release Borrower from its Obligations. Lender may          of the Collateral (including without limitation the Receivables);
    assign this Agreement and its rights and duties hereunder and no        and (ii) such other information regarding the Collateral
    consent or approval by Borrower is required in connection with          (including without limitation the Receivables) as Lender shall
    any such assignment. Lender reserves the right to sell, assign,         request. Lender, or any of its agents, shall have the right to call at
    transfer, negotiate or grant participations in all or any part of, or   any telephone numbers that Borrower has provided or may
    any interest in Lender’s rights and benefits hereunder. In              provide in the future or otherwise in the Lender’s possession
    connection with any assignment or participation, Lender may             (including any cellular or mobile telephone numbers), at intervals
    disclose all documents and information that Lender now or               to be determined by Lender, and without hindrance or delay, to
    hereafter may have relating to Borrower or Borrower’s business.         inspect, audit, check, and make extracts from any copies of the
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                                                                             of 16. PageID
                                                                                     19:00:45
                                                                                           #: 45Desc
                                         Main Document       Page 47 of GROWTH
                                                                        73            LINE OF CREDIT
                                                                                                                   AGREEMENT

    books, records, journals, orders, receipts, correspondence that       48. CONFIDENTIALITY. Borrower shall not make, publish or
    relate to the Collateral (including without limitation the            otherwise disseminate in any manner a copy of this Agreement
    Receivables) or other transactions between the parties thereto and    or any public statement or description of the terms of this
    the general financial condition of Borrower and Lender may            Agreement, except to its employees, advisors and similar persons
    remove any of such records temporarily for the purpose of having      who have a legitimate need to know its contents for purposes of
    copies made thereof. If Borrower was referred to Lender for the       satisfying the Obligations pursuant to this Agreement.
    Line of Credit by a third-party (the “Referring Party”), then
    Borrower consents to Lender sharing certain reasonable                49. ENTIRE AGREEMENT. Any application Borrower signed
    information about Borrower with the Referring Party for               or otherwise submitted in connection with this Agreement, the
    purposes of the Referring Party verifying and/or auditing             accompanying Supplement and the Authorization Agreement for
    accounts made through such Referring Party’s referrals.               Direct Deposits (ACH Credits) and Direct Payments (ACH
                                                                          Debits) and any other documents required by Lender now or in
    44. CHANGE IN TERMS UPON SUCCEEDING                                   the future in connection with this Agreement and Borrower’s
    ADVANCE REQUEST ONLY. Lender may change any of the                    Line of Credit and/or Online Account are hereby incorporated
    terms of this Agreement, provided, however, that Lender will          into and made a part of this Agreement. This Agreement is the
    notify Borrower of such changes (by posting or otherwise              entire agreement of the parties with respect to the subject matter
    reflecting such change in the Online Account) and such changes        hereof and supersedes any prior written or verbal
    shall only become effective as of the immediately succeeding          communications or instruments relating thereto.
    Advance Request.
                                                                          50. COUNTERPARTS; ELECTRONIC SIGNATURES. This
    45. GOVERNING LAW. Subject to Section 35 above, our                   Agreement may be executed in one or more counterparts, each of
    relationship (including this Agreement and any claim, dispute or      which counterparts shall be deemed to be an original, and all such
    controversy (whether in contract, tort, or otherwise) at any time     counterparts shall constitute one and the same instrument. For
    arising from or relating to this Agreement) is governed by, and       purposes of the execution of this Agreement, signatures delivered
    this Agreement will be construed in accordance with, applicable       by electronic transmission shall be treated in all respects as
    federal law and (to the extent not preempted by federal law), New     original signatures.
    York law without regard to internal principles of conflict of laws.
    The legality, enforceability and interpretation of this Agreement     51. CUSTOMER SERVICE CONTACT INFORMATION. If
    and the amounts contracted for, charged and reserved under this       you have questions or comments about your Online Account, you
    Agreement will be governed by such laws.                              may        contact      us      by     (i)     e-mail       at
                                                                          accountmanagement@getampla.com, (ii) telephone at (833) 678-
    46. WAIVER OF NOTICES AND OTHER TERMS. Except                         7483, or (iii) mail at Ampla, LLC, 1239 Broadway, 12th Floor,
    for any notices provided for in this Agreement, Borrower and any      New York, NY 10001.
    other person who has obligations pursuant to this Agreement, to
    the extent not prohibited by applicable law, hereby waives            52. CERTIFICATION AND SIGNATURES. By executing
    demand, notice of nonpayment, notice of intention to accelerate,      this Agreement or authorizing the person signing or affirming
    notice of acceleration, presentment, protest, notice of dishonor      below to execute on its behalf, Borrower certifies that Borrower
    and notice of protest. To the extent permitted by applicable law,     has received a copy of this Agreement and that Borrower has
    Borrower and any person who has obligations pursuant to this          read, understood and agreed to be bound by its terms. Each
    Agreement also agrees: (i) Lender is not required to file suit,       person executing certifies that each person is executing on behalf
    show diligence in collection against Borrower or any person who       of the Borrower and/or in the capacity indicated (and if Borrower
    has obligations pursuant to this Agreement; and (ii) Lender may,      is a sole proprietorship, in the capacity of the owner of such sole
    but will not be obligated to, sue one or more persons without         proprietorship) and that such person is authorized to execute this
    joining or suing others.                                              Agreement on behalf of or in the stated relation to Borrower.

    47. MONITORING, RECORDING AND ELECTRONIC                              Use of Proceeds Certification
    COMMUNICATIONS. In order to ensure a high quality of
    service for Lender’s customers, Lender may monitor and/or             As referred to in Section 6, by signing below, the Borrower
    record telephone calls between Borrower and Lender’s                  certifies, acknowledges and understands that the proceeds from
    employees or agents. Borrower acknowledges that Lender may            the requested Line of Credit (including, for the avoidance of
    do so and agrees in advance to any such monitoring or recording       doubt, any and all Advances) will be used solely for the following
    of telephone calls. Borrower also agrees that Lender may              purposes only:
    communicate with Borrower electronically by e-mail or via the
    Borrower’s Online Account.                                                x    Purchases of inventory, raw materials, packaging, or
                                                                                   other specified goods;
                                                                              x    Manufacturing payments;
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                                                                        73            LINE OF CREDIT
                                                                                   AGREEMENT

         x    Payments to shipping and/or fulfillment partners;
         x    Purchases of marketing and advertising services; and
         x    To the extent not included above, other general and
              administrative costs as determined by Lender in its sole
              discretion.
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                                           Main Document AUTHORIZATION
                                                               Page 49 of 73          AGREEMENT FOR
                                                                      DIRECT DEPOSIT (ACH CREDIT) AND
                                                                        DIRECT PAYMENTS (ACH DEBITS)
    This Authorization Agreement for Direct Deposit (“ACH Credit”) and Direct Payments (“ACH Debits”) (the “Authorization”) is part
    of (and incorporated by reference into) the Growth Line of Credit Agreement (the “Agreement”). Borrower should keep this important
    legal document for Borrower’s records.

    DISBURSEMENT OF ADVANCE PROCEEDS. By executing this Authorization, Borrower authorizes Lender to disburse Advance
    proceeds (less the amount of any applicable fees) by initiating an ACH credit, wire transfer or similar means to the Designated Checking
    Account (as such term is defined in the Agreement). This Authorization is to remain in full force and effect until Lender has received
    written notification from Borrower of its termination in such time and in such manner as to afford Lender and Borrower’s depository
    bank a reasonable opportunity to act on it.

    CONSENT TO DEBIT SCHEDULE AS SET FORTH IN AGREEMENT. By executing this Authorization, Borrower agrees to,
    and hereby, authorizes Lender to collect payments required under the terms of Borrower’s Agreement by initiating ACH debit entries
    to the Designated Checking Account in the amounts and on the dates provided in the Debit Schedule as set forth in the Agreement.
    Borrower authorizes Lender to assess multiple ACH debits to pay down Obligations, if necessary pursuant to and consistent with the
    Agreement. This authorization is to remain in full force and effect until Lender has received written notification from Borrower of its
    termination in such time and in such manner as to afford Lender and Borrower’s depository bank a reasonable opportunity to act on it.
    Lender may suspend or terminate Borrower’s rights under the Agreement, however, if Borrower fails to keep Borrower’s Designated
    Checking Account in good standing or if there are insufficient funds in such account or if Lender is unable to collect any amounts by
    ACH debit owed to Lender under the Agreement. If Borrower revokes the authorization, or Lender suspends or terminates Borrower’s
    rights under the Agreement, the Obligations remain outstanding and Lender reserves all rights under the Agreement accordingly.

    BUSINESS PURPOSE ACCOUNT. By executing this Authorization, Borrower attests that the Designated Checking Account was
    established for business purposes and not primarily for personal, family or household purposes.

    ACCOUNT CHANGES. Borrower agrees to promptly notify Lender in writing if there are any changes to the account and routing
    numbers of the Designated Checking Account.

    MISCELLANEOUS. Lender is not responsible for any fees charged by Borrower’s bank as the result of credits or debits initiated under
    this agreement. The origination of ACH transactions to Borrower’s account must comply with the provisions of U.S. law.


      Routing Number:                                                             Account Number:             

      Tax ID:                                



      By:
                                (Signature)

      Name:                     %#(% 

      Date:                      
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                                         Main Document       Page 50 of 73

                                                                Signature Page


    I hereby, as a duly authorized agent of Borrower, affirm that I have read and understand the terms and conditions of, consent to, and
    agree to be bound by, the Growth Line of Credit Agreement, the accompanying Supplement, and the accompanying Authorization
    Agreement for Direct Deposit (ACH Credits) and Direct Payments (ACH Debits).

    Borrower State of Incorporation:    _______________________________
                                         
    Borrower Headquarters State:        _______________________________
                                         

    Borrower Headquarters Address:      _______________________________
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    BORROWER: BURKE DECOR, LLC


    By: ________________________________________________________________
            (Signature)
               %#(% 
    Name: _________________________
    Its:      _________________________
               
    Date:       
              _________________________


    LIMITED GUARANTY. The guarantor signing below is an owner or partial owner of the Borrower (“Limited Guarantor”). The
    Limited Guarantor understands and agrees that he or she, in his or her individual and personal capacity, shall be liable, but only liable,
    for losses and/or damages caused by Borrower’s gross negligence, willful misconduct, misrepresentation or fraud. Such Limited
    Guarantor will benefit by the transactions contemplated under this Agreement, and Lender executes this Agreement based on such
    Limited Guarantor agreeing to this Limited Guaranty.


    By: ___________________________________________________________________
            (Signature)
          %#(% 
    Name: _________________________
    Date: _________________________
            




                                                                            For Lender’s Use Only: This Agreement has been received
                                                                            and accepted by Lender.


                                                                            By:
                                                                                            (Signature)

                                                                                            Anthony Santomo


                                                                            Date:            




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                         Main Document       Page 51 of 73




                                                                          August 17,2023

Burke Decor, LLC
1419 Boardman-Canfield Road, STE 280
Youngstown, OH 44512
Attn: Erin Burke

Re:   Notice of Event of Default and Opportunity to Cure
      through 12:01 a.m. ET, Friday, August 25, 2023

Dear Erin Burke,

As you know, on or about September 27, 2022, Burke Decor, LLC, as borrower
("Borrower"), and Ampla, LLC, as lender ("Lender"), entered into that certain Ampla
Growth Line of Credit Agreement ("Credit Agreement"). Capitalized, though undefined
terms as used herein, shall have their meaning as defined in the Credit Agreement.

The Credit Agreement, Section 6, provides in pertinent part: "6. LINE OF CREDIT FOR
SPECIFIC PURPOSES ONLY. The proceeds of the Line of Credit (including, for the
avoidance of doubt, any and all Advances) may solely be used for the specific purposes
as set forth in the Use of Proceeds Certification contained in Section 52 below, and not
for any other purposes ..." (emphasis added).

The Credit Agreement, Section 52, provides in pertinent part: "52. CERTIFICATION AND
SIGNATURES. ... Use of Proceeds Certification As referred to in Section 6, by signing
below, the Borrower certifies, acknowledges and understands that the proceeds from the
requested Line of Credit (including, for the avoidance of doubt, any and all Advances) will
be used solely for the following purposes only: • Purchases of inventory, raw materials,
packaging, or other specified goods; • Manufacturing payments; • Payments to shipping
and/or fulfillment partners; • Purchases of marketing and advertising services; and • To
the extent not included above, other general and administrative costs as determined by
Lender in its sole discretion" (emphasis added).

The Credit Agreement, Section 32, provides in pertinent part: "32. DEFAULT. The
occurrence of any one or more of the following events (herein, "Events of Default") shall
constitute, without notice or demand, a default under this Agreement... (ii) Borrower fails
to comply with, promptly, punctually and faithfully perform or observe any other term,
condition or promise within this Agreement..." (emphasis added).
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                         Main Document       Page 52 of 73




It has come to our attention that you have violated numerous of the aforementioned
provisions of the Credit Agreement, specifically by wrongfully diverting Advance
proceeds to corporate affiliates outside the relatively broad, but limited and
enumerated scope as outlined above. Therefore, Lender hereby declares an Event of
Default, and even though not required under the Credit Agreement, hereby provides you
5 business days' notice and opportunity to cure said Event of Default, which, for the
avoidance of any doubts, shall be cured on or before 12:01 a.m. ET, Friday, August 25,
2023.

Lender reserves all rights and remedies under the Credit Agreement and applicable law.
Please govern yourself accordingly.

Sincerely,




Jim Cummings, COO, Ampla, LLC
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                        Main Document       Page 53 of 73




                                                                       October 19,2023
    Burke Decor, LLC
    1419 Boardman-Canfield Rd„Ste. 280
    Youngstown, OH 44512
    Attn: Erin Burke

    Re:   FORBEARANCE AND SECURED CORPORATE GUARANTY AGREEMENT

    Dear Ms. Burke:

    On or about September 27, 2022, Burke Decor, LLC as borrower ("Borrower"). Ms.
    Erin Burke as limited guarantor ("Limited Guarantor") and Ampla, LLC as lender
    ("Lender"), executed that certain Growth Line of Credit Agreement ("Credit
    Agreement"). Borrower, Limited Guarantor, Lender as well as the Secured
    Corporate Guarantors (defined below), shall be referred to as the "Parties."
    Capitalized terms not otherwise defined herein however shall have their meaning
    as defined in the Credit Agreement.

    Lender sent Borrower a letter dated August 17, 2023 entitled: "Notice of Event of
    Default and Opportunity to Cure through 12:01 a.m. ET, Friday, August 25, 2023"
    ("Default Letter). The Default Letter advised Borrower of several Events of Default
    with respect to the wrongful diversion of Advance proceeds in violation of the
    Credit Agreement. The Default Letter provided Borrower, though not required by
    the Credit Agreement, five (5) business days' notice and opportunity to cure said
    Events of Default. Lender asserts they were not cured by the deadline. Pursuant to
    the Credit Agreement, Section 33(C), Lender asserts it can accelerate the balance
    of Obligations, which as ot today's date is $7,469,495.00, plus hereinafter accruing
    contractual interest ("Balance"). Lender asserts that the Balance is now due and
    owing, in full. Borrower admits that the Balance is now due and owing, in full, to
    Lender.

    Nevertheless, the Parties have recently had several constructive conversations,
    and in pursuance thereof, the Parties enter into this forbearance and secured
    corporate guaranty agreement ("Forbearance Agreement"), in which, Borrower
    agrees to comply with the following payment and other terms. In Lender's
    consideration of Borrower's agreement to abide by the terms of the Forbearance
    Agreement, and in lieu of Lender exercising at this immediate time any and all
    remedies to which it asserts it is entitled pursuant to the Credit Agreement, Section
    33, as well as applicable law, the Parties agree as follows:



                                                                               Exhibit 3
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     Case: 4:24-cv-00869-JG
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                        Main Document       Page 54 of 73




          1.    Borrower's Weekly Wire Transfer Payments.
    Commencing Thursday, October 19, 2023, and repeating every Thursday
    thereafter, and should a Thursday be a non-banking day, then the very next day
    (Friday), Borrower shall wire transfer to the Lender Wire Account (as defined
    below) the following payments: (i) for weeks 1 through 14 inclusive (commencing
    Thursday, October 19, 2023, and ending Thursday, January 18, 2024), $25,000
    shall be wire transferred by Borrower to Lender each and every Thursday; (ii) for
    weeks 15 through 20 inclusive (commencing Thursday, January 25, 2024, and
    ending Thursday, February 29, 2024), $150,000 shall be wire transferred by
    Borrower to Lender each and every Thursday; and (iii) for weeks 21 through 25
    inclusive (thus commencing Thursday, March 7,2024, and ending Thursday, April
    4,2024), $250,000 shall be wire transferred by Borrower to Lender each and every
    Thursday (collectively, the "Weekly Payments").

    The above Weekly Payments shall each be wire transferred such that they are
    received by Lender no later than 1 p.m. ET, each and every Thursday, into the
    following account ("Lender Wire Account"):

          Bank Account Name: BURKE DECOR LLC
          Bank Name: Blue Ridge Bank, N.A.
          Bank Address: 17 West Main Street, Luray, Virginia 22835
          Routing Number: 051402372
          Account Number: 8760683784

          2.    Shopify Bullet Payment.
    Notwithstanding anything to the contrary in the Credit Agreement, Lender hereby
    consents to Borrower incurring such Third-Party Financing indebtedness from
    Shopify Capital up to $2,000,000, provided that at least the first $1,000,000 in
    financing proceeds thereof shall be used to pay down the Obligations ("Shopify
    Bullet Payment"). In furtherance thereof and as a condition to Lender's consent
    hereto, on Monday, October 23, 2023, prior to 1 p.m. ET, or if Borrower's closing
    with Shopify Capital occurs thereafter, then within three (3) business days of said
    closing, Borrower promises to pay to Lender via wire transfer into the Lender Wire
    Account said Shopify Bullet Payment. Of the same date, Borrower shall also share
    with Lender such meaningful financial data demonstrating total funds received
    from Shopify Capital and thus Borrower's deriving of said Shopify Bullet Payment
    amount.
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     Case: 4:24-cv-00869-JG
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                                 #: 1-312/30/24
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                                                           of 5. PageID
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                        Main Document       Page 55 of 73




          3.    Excess Cash Bullet Payment.

    On January 2,2024, prior to 1 p.m. ET, Borrower promises to pay to Lender via wire
    transfer into the Lender Wire Account the greater of: (i) all of Borrower’s cash in
    excess of $2,000,000 or (ii) $250,000 ("Excess Cash Bullet Payment"). Of the same
    date, Borrower shall also share with Lender such meaningful financial data
    demonstrating how Borrower exercised commercially-reasonable, prudent
    financial analysis in deriving the Excess Cash Bullet Payment.

          4.    Final Payment Due April 11, 2024.

   On April 11,2024, prior to 1 p.m. ET, Borrower promises to pay to Lender via wire
   transfer into the Lender Wire Account the remaining Balance of Obligations (if
   any), plus a 3.5% flat fee interest charge ("Flat Fee Charge"), which shall be
   assessed against same Balance figure (the Balance, plus the Flat Fee Charge,
   collectively, the "Final Payment”). Notwithstanding the foregoing, if Borrower pays
   the Balance in full to Lender prior to: (i) April 11, 2024, then the Flat Fee Charge
   shall be reduced to 3.00%; (ii) March 1, 2024, then the Flat Fee Charge shall be
   reduced to 2.00%; (iii) February 1,2024, then the Flat Fee Charge shall be reduced
   to 1.00%; and (iv) January 1,2024, then the Flat Fee Charge shall be waived.

          5.    Secured Corporate Guaranty.

    In consideration of Lender's forbearances granted herein and specifically as
    demonstrated by this Forbearance Agreement, Borrower's affiliates Au Marche
    LLC and Furnishings LA LLC (collectively, the "Secured Corporate Guarantors")
    desire to provide to Lender secured corporate guaranties which shall provide for,
    alongside Borrower, an all-assets, personal property, security interest Collateral
    grant in favor of Lender pursuant to Section 17 of the Credit Agreement (which
    section is incorporated hereinto by reference among other sections, see below),
    all as follows. The Secured Corporate Guarantors, joint and several to the
    Borrower, hereby consent to, and agree to be bound by, the Secured Corporate
    Guaranty (as defined below), as follows:

          "SECURED CORPORATE GUARANTY. The guarantors signing below are
          affiliate companies of the Borrower ("Secured Corporate Guarantors").
          Secured Corporate Guarantors each, joint and several to each other and
          the Borrower, absolutely and unconditionally guarantee the prompt
          payment to Lender, including its successors and assignees, of any and
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
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                                 #: 1-312/30/24
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                        Main Document       Page 56 of 73




          all Obligations incurred by the Borrower pursuant to the Credit
          Agreement, which as of today’s date, includes but is not limited to a
          running Balance of Obligations of $7,469,495.00 (this "Secured
          Corporate Guaranty"). Provided Borrower first incurs an Event of Default
          under the Credit Agreement, as amended by this Forbearance
          Agreement, Secured Corporate Guarantors each agree to repay the
          Obligations on demand, without requiring Lender first to enforce
          payment against Borrower (or against the one or the other Secured
          Corporate Guarantor). This is a guarantee of payment and not of
          collection. This is an absolute, unconditional, primary, and continuing
          obligation and will remain in full force and effect until all the Balance has
          been indefeasibly paid in full. Furthermore, and not limiting the
          foregoing in any respect, Secured Corporate Guarantors each consent
          to, agree to be bound by, and otherwise join into each and every of the
          following provisions from the Credit Agreement in the same capacity as,
          and thus alongside and joint and several to Borrower, which provisions
          for the avoidance of any doubt are hereby incorporated by reference:
          Sections 17,18,19, 20, 22, 23, 25, 26, 28, 29, 32, 33, 34, 35, 36, 39, 45,
          46,47,48, 50 and 52.“

          6.     Good Faith Cooperation and Business Performance Covenants.

    Borrower and Lender agree to cooperate in good faith to ensure that the Balance
    is paid as agreed hereto. In that spirit, in addition to the representations, warranties
    and covenants set forth in the Credit Agreement, Borrower agrees: (i) that it shall
    participate with Lender in a 15-minute standing telephone call or videoconference
    meeting every Thursday, commencing Thursday, October 12, 2023; (ii) that
    Borrower shall maintain a minimum capital ratio of 0.70x, which ratio shall be
    defined as Borrower's current assets divided by current liabilities (including for the
    avoidance of any doubt the Balance outstanding) as prepared in accordance with
    GAAP, which financial documents demonstrating said ratio shall be updated and
    shared in writing each month; (iii) that Borrower shall maintain a minimum Monthly
    Cashflows of $3,500,000; and (iv) that Borrower shall limit total and cumulative
    cash outflows to any persons or entities, not otherwise "Borrower” and strictly the
    following of its affiliates (y) 222 Brand Blvd Realty LLC (though limited to $55,000
    for this entity) and (z) 7373 Market Street Realty Holding LLC and 300 Boardman
    Poland Road Realty LLC (though limited to $35,000 for these two entities), which
    financial documents demonstrating said limited cash outflows shall be updated
    and shared in writing the Wednesday prior to said weekly Thursday call as set forth
    in the preceding subsection (i).
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           Case: 4:24-cv-00869-JG
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                              Main Document       Page 57 of 73
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            Except for the forbearances explicitly allowed herein, Lender reserves all rights
            under the Credit Agreement and applicable law. The Parties agree to the terms of
            this Forbearance Agreement by signing below.

            Sincerely,
                  DocuSIgned by:




            Anmony^anTomo, CEO Ampla, LLC


            Borrower hereby consents to, and agrees to be bound by, the terms of this
            Forbearance Agreement, by its signature below:

            Burke Decor, LLC
                  DocuSIgned by:




                      bsupkeua.

            Its: member

            Au Marche LLC, as Secured Corporate Guarantor, joint and several to Furnishings
            LA LLC and the Borrower, hereby consents to, and agrees to be bound by, the
            Secured Corporate Guaranty as set forth above:

            Au Marche LLC
                  DacuSigned by:




            |tS; MEMBER



            Furnishings LA LLC, as Secured Corporate Guarantor, joint and several to Au
            Marche LLC and the Borrower, hereby consents to, and agrees to be bound by, the
            Secured Corporate Guaranty as set forth above:

            Furnishings LA LLC
                  DocuSigned by:




            By.   TtwMmkaMS...

            |tS; MEMBER
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     Case: 4:24-cv-00869-JG
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                                                                        #: 56 Desc
                        Main Document       Page 58 of 73



                                                                          February 1, 2024

Via E-mail

Burke Decor, LLC
1419 Boardman-Canfield Road, Ste. 280
Youngstown, OH 44512
Attn: Erin Burke

             NOTICE OF DEFAULT
             That certain Growth Line of Credit Agreement, by and between Ampla, LLC, a
             New York limited liability company (“Lender”) and Burke Décor, LLC, an Ohio
             limited liability company (“Borrower”), dated as of September 27, 2022, (the
             “Agreement”), as guaranteed by that Limited Guaranty executed by Erin Burke.

Dear Ms. Burke,

       Unless otherwise defined herein, all capitalized terms shall have the meaning
ascribed to them in the Agreement.

       Pursuant to that certain Notice of Event of Default and Opportunity to Cure dated
August 17, 2023 (“Notice of Default”), Lender informed Borrower of various Events of
Default (as defined in the Notice of Default) under the Agreement, and although under no
obligation to do so, Lender granted Borrower a five (5) business day cure period ending
August 25, 2023, wherein Lender reserved all rights and remedies under the Agreement
and at law.

        Borrower failed to cure the Events of Default within the required time period as set
forth in the Notice of Default.

        Subsequent thereto, Lender agreed to enter into a Forbearance Agreement (herein
so called) dated October 17, 2023, which also included a “Secured Corporate Guaranty”
executed by the Secured Corporate Guarantors (as defined in the Forbearance
Agreement), wherein Lender agreed to forbear from exercising its rights under Section 33
of the Agreement in connection with the Events of Default; provided that, Borrower
comply with the terms of the Forbearance Agreement.

       Lender hereby notifies Borrower that various defaults (“Forbearance Defaults”)
have occurred under the terms of the Forbearance Agreement. Specifically, Borrower has
breached (i) Section 3 by failing to deliver the Excess Cash Bullet Payment on January 2,
2024, (ii) Section 1 by failing to deliver the Weekly Payment on January 25, 2024, and (iii)
Section 6(i) by failing to join the fifteen (15) minute standing telephone call or
videoconference meeting on January 25, 2024. Due to the occurrence of the Forbearance
Defaults, Lender is no longer under any obligation to comply with the terms of the
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     Case: 4:24-cv-00869-JG
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                                                           of 3. PageID
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                        Main Document       Page 59 of 73



Forbearance Agreement and may immediately proceed with exercising its remedies for
the Events of Default.

       You are hereby notified that Lender has not waived, and expressly reserves, all
rights and remedies that it may have at law, in equity or under, the Agreement as a result
of the Events of Default and/or Forbearance Defaults as described above or any other
past, existing or future Event(s) of Default, breach or other default under the Agreement
(collectively, “Agreement Defaults”). Subject to the applicable terms of the Agreement,
any of such rights or remedies may be exercised by Lender at any time, in its sole
discretion.

       Additionally, nothing contained herein, nor any failure by Lender to exercise, nor
delay by Lender in exercising, any of its rights and remedies at law, in equity or under, the
Agreement or the Forbearance Agreement with respect to any past, existing or future
Agreement Default, is intended to constitute, nor shall it constitute, any waiver, estoppel,
release, modifications, limitation, forbearance or agreement by Lender to forbear or delay
the exercise of any of Lender’s rights or remedies at law, in equity or under the Agreement
or the Forbearance Agreement, or a waiver or modification of any obligations of Borrower
under the Agreement or the Forbearance Agreement. Additionally, no failure by Lender to
insist upon the strict performance of any term of the Agreement or the Forbearance
Agreement, or failure to exercise any right, power or remedy available to it, and no
acceptance of full or partial payment of any amount, or performance of any other
obligation, before, after or during the continuance of any Agreement Default, shall
constitute a waiver or modification of the Agreement or the Forbearance Agreement, or
a course of dealing in connection with any such Agreement Default. No express waiver
by Lender, if given, of any Agreement Default or potential breach of the Agreement or the
Forbearance Agreement shall affect or alter the Agreement or the Forbearance
Agreement in any other manner, and the Agreement shall continue in full force and effect
with respect to any other then existing or subsequent breach or Agreement Default.

       Without limitation of the other provisions of this Notice of Default, the following
shall not be construed as a waiver or release of any rights or remedies by Lender or an
indication of a course of dealing, and shall not operate as a course of dealing or to toll
any cure, grace or notice period or other applicable period or in any manner give rise to
an obligation of Lender to modify the legal relationship evidenced by the Agreement or
the Forbearance Agreement: (a) the attendance and/or participation by Lender or its
attorneys or other representatives in or at any telephone communications, meetings or
other discussions with respect to the Agreement Defaults or the Agreement or the
Forbearance Agreement; or (b) any correspondence, statements, discussions,
negotiations, meetings, drafts of documents (including without limitation, unexecuted
drafts of proposed modifications) or telephone or email communications among Lender
and/or its attorneys or other representatives and Borrower or Borrower’s attorneys or
other representatives with respect to any Agreement Default or any proposed transaction
or modifications involving the Agreement or the Forbearance Agreement.
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
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                                 #: 1-412/30/24
                                         Filed: 05/14/24
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                                                                        #: 58 Desc
                        Main Document       Page 60 of 73




Should you have any questions, please do not hesitate to contact us.

Sincerely,




Anthony Santomo, CEO Ampla
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
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                                         Filed: 05/14/24
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                        Main Document       Page 61 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
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                        Main Document       Page 62 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
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                        Main Document       Page 63 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
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                                 #: 1-612/30/24
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                        Main Document       Page 64 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                             Doc Filed
                                 #: 1-712/30/24
                                         Filed: 05/14/24
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                                                                   19:00:45
                                                                        #: 63 Desc
                        Main Document       Page 65 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
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                                         Filed: 05/14/24
                                                  Entered212/30/24
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                                                                   19:00:45
                                                                        #: 64 Desc
                        Main Document       Page 66 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                             Doc Filed
                                 #: 1-812/30/24
                                         Filed: 05/14/24
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                                                           of 2. PageID
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                                                                        #: 65 Desc
                        Main Document       Page 67 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
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                                         Filed: 05/14/24
                                                  Entered212/30/24
                                                           of 2. PageID
                                                                   19:00:45
                                                                        #: 66 Desc
                        Main Document       Page 68 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                             Doc Filed
                                 #: 1-912/30/24
                                         Filed: 05/14/24
                                                  Entered112/30/24
                                                           of 2. PageID
                                                                   19:00:45
                                                                        #: 67 Desc
                        Main Document       Page 69 of 73
Case 2:24-bk-14882-BB
     Case: 4:24-cv-00869-JG
                        Doc 92
                             Doc Filed
                                 #: 1-912/30/24
                                         Filed: 05/14/24
                                                  Entered212/30/24
                                                           of 2. PageID
                                                                   19:00:45
                                                                        #: 68 Desc
                        Main Document       Page 70 of 73
                 Case Case:
JS 44 (Rev. 09/23)
                          2:24-bk-14882-BB
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       AMPLA, LLC                                                                                        BURKE DECOR, LLC, ERIN BURKE, AU MARCHE, LLC,
                                                                                                         FURNISHINGS LA, LLC, US SM BUSN ADMIN, CT CORP
    (b) County of Residence of First Listed Plaintiff          New York Cty.. NY                         County of Residence of First Li sted Defendant MahOninQ CtV., OH____
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONL Y)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (IfKnown)
        David P. Shouvlin, McDonald M. Kelly, Porter Wright, 41
        S. High S., Columbus, OH 43215; 614.227.2045

II. BASIS OF JURISDICTION (Place an “X" in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Boxfor Plaintiff
                                                                                                            (For Diversity Cases Only)                    and One Box for Defendant)
□>     U.S. Government              □ 3 Federal Question                                                                       PTF     DEF                                        PTF          DEF
         Plaintiff                          (U.S. Government Not a Party)                       Citizen of This State          □ 1     E i     Incorporated or Principal Place    □ 4         04
                                                                                                                                                 of Business In This State

□ 2 U.S. Government                 04    Diversity                                             Citizen of Another State          02   □ 2     Incorporated and Principal Place       0 5     □5
         Defendant                          (Indicate Citizenship ofParties in Item III)                                                         of Business In Another State

                                                                                                Citizen or Subject of a           □3   □ 3     Foreign Nation                         □ 6     □6
                                                                                                  Foreign Country
IV. NATURE OF SUI1 (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                            TO                                  FORFEITURE/PENALTY                      BANKRUPTCY                    OTHER STATUTES               |
  110 Insurance
  120 Marine
  130 Miller Act
                                        PERSONAL INJURY
                                      I 310 Airplane
                                   J 315 Airplane Product
                                                                      PERSONAL INJURY
                                                                    | 365 Personal Injury -
                                                                          Product Liability
                                                                                                0 625 Drug Related Seizure
                                                                                                      of Property 21 USC 881
                                                                                                0690 Other
                                                                                                                                   E   422 Appeal 28 USC 158
                                                                                                                                       423 Withdrawal
                                                                                                                                           28 USC 157
                                                                                                                                                                 —
                                                                                                                                                                   375 False Claims Act
                                                                                                                                                                   376 Qui Tam (31 USC
                                                                                                                                                                        3729(a))
  140 Negotiable Instalment                  Liability            □ 367 Health Care/                                                     INTELLECTUAL              400 State Reapportionment
  150 Recovery of Overpayment _ | 320 Assault, Libel &                    Pharmaceutical                                               PROPERTY RIGHTS             410 Antitrust
    . & Enforcement of Judgment              Slander                      Personal Injury                                              820 Copyrights              430 Banks and Banking

E 151 Medicare Act
  152 Recovery of Defaulted
      Student Loans
                                     ] 330 Federal Employers’
                                             Liability
                                   _i 340 Marine
                                                                          Product Liability
                                                                    1 368 Asbestos Personal
                                                                           Injury Product
                                                                                                                                       830 Patent
                                                                                                                                       835 Patent - Abbreviated
                                                                                                                                           New Drug Application
                                                                                                                                                                   450 Commerce
                                                                                                                                                                   460 Deportation
                                                                                                                                                                   470 Racketeer Influenced and
      (Excludes Veterans)            [ 345 Marine Product                 Liability                                                 n 840 Trademark                    Corrupt Organizations
 1153 Recovery of Overpayment                Liability             PERSONAL PROPERTY                           LABOR                - 880 Defend Trade Secrets     480 Consumer Credit
      of Veteran ’ s Benefits        1 350 Motor Vehicle              370 Other Fraud           □ 710 Fair Labor Standards                 Act of2016                   (15 USC 1681 or 1692)
  160 Stockholders’ Suits          3j 355 Motor Vehicle               371 Truth in Lending               Act                                                     _ 485 Telephone Consumer
X 190 Other Contract                        Product Liability         380 Other Personal          ~| 720 Labor/Management               SOCIAL SECURITY                 Protection Act
  195 Contract Product Liability । 23 360 Other Personal                  Property Damage                 Relations                    861 HIA(1395ff)             490 Cable/Sat TV
                                                                  3] 385 Property Damage           1740 Railway Labor Act                                        —
  196 Franchise                             Injury                                                                                     862 Black Lung (923)        850 Securities/Commodities/
                                     | 362 Personal Injury -              Product Liability     _ |751 Family and Medical              863 DIWC/DIWW (405(g))           Exchange
                                           Medical Malpractice                                            Leave Act                    864 SSID Title XVI          890 Other Statutory Actions
      REAL PROPERTY                       CIVIL RIGHTS             PRISONER PETITIONS           3] 790 Other Labor Litigation          865 RSI (405(g))            891 Agricultural Acts
  210 Land Condemnation            _j 440 Other Civil Rights          Habeas Corpus:            ~~|791 Employee Retirement                                         893 Environmental Matters
  220 Foreclosure                    ] 441 Voting                     463 Alien Detainee                 Income Security Act           FEDERAL T AX SUITS          895 Freedom of Information
  230 Rent Lease & Ejectment       3] 442 Employment              □ 510 Motions to Vacate                                            | 870 Taxes (U.S. Plaintiff       Act
  240 Torts to Land                3J 443 Housing/                        Sentence                                                         or Defendant)         3 896 Arbitration
  245 Tort Product Liability                Accommodations        □ 530 General                                                     □ 871 IRS—Third Party          899 Administrative Procedure
  290 All Other Real Property        | 445 Amer. w/Disabilities -     535 Death Penalty                   IMMIGRATION                       26 USC 7609                Act/Review or Appeal of
                                            Employment                Other:                       [ 462 Naturalization Application                                    Agency Decision

                                   _
                                     | 446 Amer. w/Disabilities -
                                           Other
                                                                      540 Mandamus & Other
                                                                      550 Civil Rights
                                                                                                __1465 Other Immigration
                                                                                                         Actions
                                                                                                                                                                  3950 Constitutionality of
                                                                                                                                                                       State Statutes
                                     | 448 Education                  555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V, ORIGIN (Place an "X" in One Box Only)
    1 Original               Removed from                 3    Remanded from               □ 4 Reinstated or      □ 5 Transferred from        □ 6 Multidistrict                   8 Multidistrict
      Proceeding             State Court                       Appellate Court                 Reopened           Another District                Litigation -                      Litigation -
                                                                                                                       (specify)                  Transfer                          Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)'.
                                      28 U.S.C. Section 1332
VI. CAUSE OF ACTION                   Brief description of cause:
                                      Breach of Contract, Breach of Guaranty, Receivership, Sale of Collateral, Accounting
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION        DEMAND $                      CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.              greater than $75,000          JURY DEMAND:         0Yes       0No

VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE  ________________________________________DOCKET NUMBER____________________________
DATE                        „        „r                            SIGNA-TURE OUAFTORNEY OF RECORD


FOR OFFICE USE ONLY

    RECEIPT #                   AMOUNT                                  APPLYING IFP                                      JUDGE                         MAG. JUDGE
         Case Case:
              2:24-bk-14882-BB
                    4:24-cv-00869-JG
                                 Doc 92
                                     Doc #:
                                         Filed
                                            1-10
                                               12/30/24
                                                 Filed: 05/14/24
                                                          Entered 212/30/24
                                                                    of 3. PageID
                                                                            19:00:45
                                                                                 #: 70 Desc
                                 Main Document     Page 72 of 73
                                            UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF OHIO

                  Civil Categories: (Please check one category only ).


                     1.              General Civil
                     2.              Administrative Review/Social Security
                     3.              Habeas Corpus Death Penalty
        *lf under Title 28, §2255, name the SENTENCING JUDGE:

                                                     CASE NUMBER:
II.    RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

         This action:        is RELATED to another PENDING civil case          is a REFILED case           was PREVIOUSLY REMANDED


If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.    In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

        (1)      Resident defendant If the defendant resides in a county within this district, please set forth the name of such
        county
        c o unt y:    Mahoning County, Ohio
        Corporation Por the purpose of answering the above, a corporation is deemed to be a resident of that county in
                    which it has its principal place of business in that district.

        (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
              wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiffs residence.
        COUNTY

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTERN DIVISION

                     AKRON                   (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                             (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                 CLEVELAND                   Lake, Lorain, Medina and Richland)
                 YOUNGSTOWN                  (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION

                     TOLEDO                  (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                              Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                             VanWert, Williams, Wood and Wyandot)
                 Case Case:
                      2:24-bk-14882-BB
JS 44 Reverse (Rev. 09/23)  4:24-cv-00869-JG
                                         Doc 92
                                             Doc #:
                                                 Filed
                                                    1-10
                                                       12/30/24
                                                         Filed: 05/14/24
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                                                                            of 3. PageID
                                                                                    19:00:45
                                                                                         #: 71 Desc
                                         Main Document     Page 73 of 73
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)     Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statute.

VI,     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
